                             Case 1:24-cv-03744-BAH                             Document 16-14                         Filed 01/03/25                     Page 1 of 89

  Subject: Re: [EXTERNAL) Inquiry for Legal Assistance in Employment, \/1/nistleblower, and Defamation Matters
  From : "Frenkil , Steven D." <sfrenkil@MilesStockbridge.com>
  To: "ryan@mxt3.com" <ryan@mxt3.com >
  Date Sent: Wednesday, December 20, 2023 5:11 :49 PM GMT-05 :00
  Date Received : Wednesday, December 20, 2023 5:12:02 PM GMT-05:00

   Dear Mr. Wagner -

   I am in receipt of your email below sent to me earlier this afternoon.

  There is a conflict of interest that prevents me and my law firm from representing you in th is matter or in any matter.

  I am compelled to bring to your attention that your unilateral communication of information to me without any reasonable expectation that I am willing to discuss the
  possibility of forming an attorney-client relationship with you means that you are not a prospective client of my law firm within the meaning of the applicable rules of
  professional conduct.

  Very truly yours,

  Steven D. Frenkil

  Prmdpa~

   100 Light Street   Baltimore, MD 21 202
  0 : +1 410,385 .3758    C: +1 41 0.591.5705   F: + 1 4 10.773 .90 19


  •      • MILES
  ~°t~     STOCKBRIDGE

  mlCID


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    On Dec 20, 2023, at 2:28 PM, Ryan Wagner <ryan @mxt3.com > wrote:




    [EXTERNAL)

    I hope this lett er find s you well. I am writing to seek your professiona l guidance and potential legal re presentation regarding a complex lega l situati on I am currently facing . After
    conducting res earch and con sidering your experti se , I believe you r assista nce in matters relat ed to employment law, whistl eblower prot ecti ons, and defamati on may be invaluable.



    Background :

    I am the Vice President of IT at the largest privately held Planet Fitness franchise , and I have encountered various legal concerns that have impacted my
    professional reputation, mental health , and overall well-being . I am seeking legal advice to understand my rights , potential legal remedies and the best
    course of action moving forward .


    Employment Law:

    I have experienced distressing issues within my workplace , including instances of harassment, bullying , and a hostile work environment. These
    circumstances have created a challenging and uncomfortable work environment, affecting not only my professional life but also my well-being .


    Whistleblower Protections :

    Additionally, while performing duties and tasks directed by the CFO, I have uncovered fraudulent and altered information . This discovery has led me to
    believe that I may be entitled to whistleblower protections under the law. I am seeking guidance on the available legal safeguards to protect against
    retaliation and the potential avenues for pursuing justice.


    Defamation :

    The fabricated and altered information has had a detrimental impact on my reputation , both internally within the company and externally. I believe there
    may be grounds for a defamation claim , and I am interested in exploring the possibility of taking appropriate legal action to protect my reputation and
    seek remedies for the harm caused .


      Request for Legal Assistance :

    Given the complexity and sensitivity of my situation, I am reaching out to you for professional guidance and potential legal representation . I kindly
    request an initial consultation to discuss the details of my case and to evaluate the potential legal options available to me. I am prepared to provide you
    with the relevant information, documents, and evidence that I currently have parsed out during the consultation.


      If you believe that your expertise aligns with my needs , I would greatly appreciate your assistance in navigating these legal matters. Alternatively, if you
      are unable to provide the specific legal services I require , I kindly ask for your guidance in directing me to another attorney who may be better suited to
      handle my case.



                                                                                             1 / 91
M&S All Emails Extracted                                                                  Page # I of91                                                                             Exhibit 164
                           Case 1:24-cv-03744-BAH                                                 Document 16-14                                   Filed 01/03/25                             Page 2 of 89
         ~fidentiality is of utmost importance to me , and I assure you that all information shared will be treated with the strictest confidence.


    Thank you for considering my request. I look forward to the opportunity to discuss my case with you further and to potentially engage your legal services.
    Please let me know of your availability for an initial consultation at your earliest convenience. I have a meeting scheduled for tomorrow afternoon that
    could include retaliation for a recently filed HR complaint as well as retaliation against me for being a whistle-blower.

    Should you require any additional information or have any questions, please do not hesitate to contact me. Thank you for your attention to this matter.

    Respectfully,

    Ryan Wagner
    Mobile: 703-303-1113
    1334 Maple Ave
    Essex MD 21221



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   This e-mail, Including any attachment(s), Is intended for receipt and use by the intended addressee{s). and may contain conf1dent1al and privileged mformat,on. If you are not an intended recipient of this e-mail, you are hereby not1f1ed that
   any unauthori zed use or distribution of this e-mail 1s strictly proh1b1ted, and requested to delete this communicat1on and its attachment(s) without making any copies thereof and to contact the sender of thls e-mail immediately. Nothing
   contained In the body and/or header of this e-mail 1s Intended as a signature or Intended to bmo the addresser or any person represented by the addressor to the terms of any agreement that may be the subJec.t of this e-mail or its
   attachment(s), except where such intent is expressly 1nd1cated.

   Any federal tax advice provided 1n this communication 1s not intended or written by the author to be used, and cannot be used by the rec1p1ent, for the purpose of avo1din9 penalties which may be unposed on the r ec1p1ent by the IRS. Please
   contact the author if you would like to receive written adv1ce ln a format which complies with IRS rules and may be rehed upon to avoid penalties.


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                                                                                                                       2 / 91
M&S All Emails Extracted                                                                                        Page         2of91                                                                                             Exhibit 164
                           Case 1:24-cv-03744-BAH                      Document 16-14                      Filed 01/03/25                 Page 3 of 89

  Subject: Fwd: Ohana Growth Partners, LLC v Ryan Dillon-Capps
  From: "Brennen , Robert S." <RBRENNEN@MilesStockbridge.com>
  To: "ryan@mxt3.com" <ryan@mxt3.com>
  Date Sent: Monday, June 17, 202410:28 :55 PM GMT-04:00
  Date Received : Monday, June 17, 2024 10:29:09 PM GMT-04:00


  Sent from my iPhone

  Begin forwarded message:


   From: " Brennen, Robert S." < RBRENNEN@milesstockbridge.com>
   Date: June 17, 2024 at 0913 :28 EDT
   To: Ryan .DillonCapps@ohanagp.com
   Subject: Re : Ohana Growth Partners, LLC v Ryan Dillon-Ca pps


    We have been advised by Judge DeSimone 's Chambers that the Court wi ll hear Ohana's Motion for a Temporary Restraining Order this morning as soon as poss ible
   after I arrive at the courthouse, which ought to be in about 35 minutes. I f you have retained a lawyer to represent you in thi s matter you should have your lawyer contact
   Chambers to arrange to participate. If not you can contact Chambers and arrange to appear on your own behalf.

   Sent from my i Phone


    On Jun 14, 2024, at 11 :49, Brennen, Robert S. <RBRENNEN@milesstockbridge.com> wrote




    We have been retained by Ohana Growth Partners, LLC to represent it in connection with your ongoing breaches or your contract w ith and duty of loyalty to the
    Company and your continuing violation of Mo. CooE A NN., CRIM . L AW., ~7-302(c) through your refusal to provide Global Adm in rights to Phil Leodore of Hartman
    Executive Advisors. Your continued refusal to comply w ith Ohana 's demands, and your action to lock VP of Hum an Resources Richard Hartman out of the
    Company 's MS 365 account has le ft the Company with no option but to seek assistance of the courts.



    Attached are cop ies ofa Complaint that will be filed on Ohana 's behalf against you in the Circuit Court for Baltimore County. Also attached is a Motion for Entry ofa
    Temporary Restraining Order and Pre liminary Injunction, Memorandum of Law in support of the motion with exhibits, and a proposed Order that will be tiled along
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    Immediately after the documents are filed we will transmit courtesy copies of the filings to the Hon. Michael J. Fin ifter, who is serving as today's Chambers Judge for
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    clai ms that you believe you may have, but will not entertain any discussions until the issue of Global Admin rights is resolved . I am avai lable by telephone to di scuss
    the matter w ith you and/or your attorney should you wish to do so.



    Regards,




    Robert Brennen

    """'""''
    100 Light Street   Balti m ore, MD 21202
    D: +14 10.385.3653    0: + 1410. 727 .6464   F: +1410. 698 .1352


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    <2024-06-14 TRO Pl Cover Motion.pd!>
    <2024-06-14 MOL in support ofTRO.pdt>
    <Ex hibit I to MOL - Hartman Affidavit.pd!>
    <Exhibit 2 to MOL- Justin_Drummond Affidavit.pd!>


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M&S All Emails Extracted                                                         Page#3 of91                                                                      Exhibit 164
                                 Case 1:24-cv-03744-BAH                                                  Document 16-14                                   Filed 01/03/25                              Page 4 of 89
.,,..        xhibit 3 to MOLpdf>
          <2024-06-14 Proposed TRO.pdf>
         < image00 l .png>
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         <image004 .png>
         <image00S.png>




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    M&S All Emails Extracted                                                                                          Page          4 of91                                                                                             Exhibit 164
                            Case 1:24-cv-03744-BAH                                                 Document 16-14                                   Filed 01/03/25                              Page 5 of 89

  Subject: Fwd : Ohana Growth Partners, LLC v Ryan Dillon-Capps
  From : "Brennen, Robert S." <RBRENNEN@MilesStockbridge.com>
  To: "ryan@mxt3.com" <ryan@mxt3.com>
  Date Sent: Monday, June 17, 2024 10:28:02 PM GMT-04:00
  Date Received : Monday, June 17, 202 4 10:33:03 PM GMT-04:00
  Attachments : image001. png ,image002.png ,image003.jpg,image004.png,image005.png ,Civil - Case Information Report1.pdf,2024-06-14 Complaint Ohana v Dillon-Capps.pdf,2024-06-14
  TRO Pl Cover Motion.pdf,2024-06- 14 MOL in support of TRO.pdf,Exhibit 1 to MOL - Hartman Affidavi t.pd f,Exhibit 2 to MOL- Justin_Drummond Affidavit.pdf,Exhibit 3 to MOL.pdf,2024-06-14
  Proposed TRO.pdf


  As you requested .

  Begin forwarded message :


   Fro m: "Brennen , Robert S." <RBRENNEN @ mi lesstockbridge.com>
   Date: June 14, 2024 at 11:49: 15 EDT
   To: Ryan .DillonCapps@ohanagp.com
   Subject: Ohana Growth Partn ers, LLC v Ryan Dillon-Ca pps




   We have been retained by Ohana Growth Partners, LLC to represent it in connection with your ongoing breaches of your contract with and duty of loyalty lo the
   Company and your continuing violation of Mo. CooE ANN., CRIM . LAW., \i7-302(c) through your refusal to provide Global Adm in rights to Phil Leodore of Hartman
   Executive Adv isors. Your continued refusal to comply with Ohana 's demands, and your action lo lock VP of Human Resources Richard Hartman out of the Company 's
   MS 365 account has left the Company with no option but to seek assistance of the courts.



   Attached are copies ofa Complaint that wi ll be filed on Ohana 's behalf against you in the Circuit Court for Baltimore County. Also attached is a Motion for Entry ofa
   Temporary Restraining Order and Preliminary Injunction, Memorandum of Law in support of the motion with exhibits, and a proposed Order that will be filed along
   with the Complaint. Our transmitting these documents does not currently constitute service of process triggeri ng your duty to file a response lo the Complaint, but it
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   Immediately after the documents are fi led we will transmit courtesy copies of the filings to the Hon . Michael J Finifter, who is serving as today 's Chambers Judge for
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   Ohana will consider withdrawing the Motion for TRO provided that ( 1) you immediately provide Global Adm in rights to Phil Leodore of Hartman Executive Advisors,;
   (2) we receive confi rmation from Mr. Leodore that he has received and can exercise those rights; and (3) you con Ii rm in writing that you will comply with the
   suspension letter sent to you yesterday by Richard Hartman. Time is of the essence. Ohana is also open lo a negotiated resolution to the entire matter and any claims that
   you believe yo u may have, but wi ll not entertain any discussions unti l the issue of Global Admin rights is resolved . I am available by te lephone to discuss the matter
   with you and/or your attorney shou ld you wish to do so .



    Regards,




    Robert Brennen
    Principot
    100 Light Street   Baltimore, MD 21202
    D: +1 410.385.3653    0: +1410.727 .6464 I F: +1410.698.1352




   !?!2. 1vCard, I rbrennen@milesstockbridg~.com




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M&S All Emails Extracted                                                                                         Page # 5 of9 l                                                                                                  Exhibit 164
                            Case 1:24-cv-03744-BAH                      Document 16-14                    Filed 01/03/25                 Page 6 of 89

  Subject: Fwd : Ohana Growth Partners, LLC v Ryan Dillon-Capps
  From : "Brennen, Robert S." <RBRENNEN@MilesStockbridge.com>
  To: "ryan@mxt3.com" <ryan@mxt3.com>
  Date Sent: Monday, June 17, 2024 10:29:15 PM GMT-04:00
  Date Received : Monday, June 17, 20241 0:29:29 PM GMT-04:00


  Sent from my iPhone

  Begin forwa rded message:


   From: "Brennen, Robert S." <RBRENN EN@milesstockbridge .com>
   Date: June 17, 2024 at 10:07 :28 EDT
   To: Ryan.Di1lonCapps@ohanagp.com
   Subject: Re : Ohana Growth Partners, LLC v Rya n Dillon-Ca pps


    I am in the Courtroom and about to be heard on the motion
   Sent from my iPhone


    On Jun 17, 2024, at 09: 13, Brennen, Robert S. <RBRENNEN@milesstockbridge .com> wrote :


     We have been advised by Judge DeSimone 's Chambers that the Court wi ll hear Ohana 's Motion for a Temporary Restraining Order this morning as soon as poss ible
    after I arrive at the courthouse, which ought to be in about 35 minutes. If yo u have retained a lawyer to represent you in this matter you should have your lawyer
    contact Chambers to arrange to participate. lfnot you can contact Chambers and arrange to appear on your own behalf

    Sent from my iPhone


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    We have been retained by Ohana Growth Partners, LLC to represent it in connection with your ongoi ng breaches of your contract with and duty of loyalty to the
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    Execut ive Advisors. Your continued refusal to comply with Ohana's demands, and yo ur action to lock VP of Human Resources Richard Hartma n out of thc
    Company 's MS 365 account has left the Company w ith no option but to seek assistance of the courts .



    Attached are copies ofa Complaint that wi ll be filed on Ohana's behalf against you in the Circuit Court for Baltimore County. Al so attached is a Motion for Entry
    ofa Temporaiy Restrai ning Order and Preliminary Injunction, Memorandum of Law in support of the motion with exhibits, and a proposed Order that will be filed
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    Complaint, but it does place yo u on notice of the Motion for a TRO .



    Immediately after the documents are filed we will transmit courtesy copies of the filings to the Hon . Michael J. Finifter, who is se1ving as today 's Chambers Judge
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    O hana wil l consider withdrawing the Motion for TRO provided that (I) you immediately provide Global Adm in rig hts to Phil Leodore of Hartm an Executive
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    any claims that you be lieve you may have, but will not entertai n any discussions until the issue of Global Admin rights is resol ved. 1 am available by telephone to
    discuss the matter with you and/or your attorney should you wish to do so .



     Regards,




    Robert Brennen
     Prvic(IXU
     l OO light Street   Baltimore, MD 21202
     D: +1 410 .385 .3653   0 : +1 410.727.6464   F: +t 410.698. 1352


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M&S All Emails Extracted                                                         Page # 6of91                                                                    Exhibit 164
                           Case 1:24-cv-03744-BAH                                                 Document 16-14                                   Filed 01/03/25                              Page 7 of 89
       024-06-1 4 TRO Pl Cover Motion.pd f'>
    <2024-06-1 4 MOL in support ofTRO.pdf'>
    <Exhibit I to MOL- Hartman Affidavit.pd f'>
     <Exhibit 2 to MOL - Justi n_Drummond Atlidavit.pdf'>
     <Ex hibit 3 to MOLpdf'>
     <2024-06-1 4 Proposed TRO.pd!>
    <image00 1.png>
    <image002 .png>
    <image003.jpg>
    <image004.png>
    <image005 .png>



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  attachment{s), t:xct:pt whert: such intent 1s expressly indicated.

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  contact the author 1f you would like to receive wntten advice in a format which complies with IRS rules and may be relied upon to avoid penalties.


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M&S All Emails Extracted                                                                                       Page # 1 of9 J                                                                                                  Exhibit 164
                       Case 1:24-cv-03744-BAH                           Document 16-14                      Filed 01/03/25                  Page 8 of 89

  Subject: Fwd : Ohana Growth Partners, LLC v Ryan Dillon-Capps
  From: "Brennen , Robert S." <RBRENN EN@MilesStockbridge.com>
  To: "ryan@mxt3.com" <ryan@mxt3.com>
  Date Sent: Monday, June 17, 2024 10:29:38 PM GMT-04:00
  Date Received : Monday, June 17, 2024 10:30:30 PM GMT-04:00
  Attachments : image001.png ,2024-0&-16 Temporary Restraining Order entered.pd!


  Sent from my i Phone

  Begin forwarded message


   From: "Brennen, Robert S." <RBRENNEN@milessLOckbridge.com>
   Datt: June 17, 2024 at 11 :50 :47 EDT
   To: Ryan .Di llonCapps@ohanagp.com
   Subject: RE: Ohana Growth Partners, LLC v Ryan Dillon-Capps




   The Circuit Coun for Baltimore Couniy has granted Ohana 's Motion and entered the anached Temporary Restraining Order. Your failure to comply with the Order may subject you
   civi l fines and civi l contempt, as well as prosecution for criminal contempt. We trust that you will avo id those consequences by complying with the Order.




     Robert Brennen Principal
     Miles & Stockbridge
     direct: +1 (4 10) 385-3653




   From : Brennen, Robert 5.
   Sent: Monday, June 17, 2024 10:07 AM
   To: Ryan.DillonCapps@ohanagp.com
   Subject: Re: Ohana Growth Partners, LLC v Ryan Dillon-Capps




   I am in the Courtroom and about to be heard on the motion

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    On Jun 17, 2024 , at 09 13, Brennen, Robert S < RBRENNEN@mj!esstockbrjdgl:.l:llllJ.> wrote :

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M&S All Emails Extracted                                                           Page# 8 of91                                                                     Exhibit 164
                            Case 1:24-cv-03744-BAH                                                 Document 16-14                                   Filed 01/03/25                              Page 9 of 89
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      Regards,




      Robert Brennen
      PrltlCIPQl

      100 Light Street   Baltimore, M D 21202
      D: +1 4 10.385.3653 0 : +1 410.727.6464   F: +1 4 10.698.1352




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      <2024-06-1 4 Complai nt Ohana v Dillon-Capps.pdt'>

      <2024-06- 14 TRO Pl Cover Motion.pdf>

      <2024-06-14 MOL in support ofTRO .pdt'>

      <Exhibit I to MOL- Hartman Affidavit.pdt'>

      <Ex hibit 2 to MOL - Justin_D rummond Affidavit.pdt'>

      <Ex hibit 3 to MOL.pd!'>

      <2024-06- 14 Proposed T RO .pdt'>

     <image00 I. png>

     <image002 .png>

     <image003 .jpg>

     <im age004 .png>

     < im age005 .png>




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M&S All Emails Extracted                                                                                         .Page ti 9 of91                                                                                                 Exhibit 164
                        Case 1:24-cv-03744-BAH                                                 Document 16-14                                   Filed 01/03/25                            Page 10 of 89

  Subject: Re: [EXTERNAL] Email Dated June 14, 2024 at 11 :49 AM - I do not have this email
  From : "Brennen , Robert S." <RBRENNEN@MilesStockbridge.com>
  To: "ryan@mxt3.com" <ryan@mxt3.com>
  Cc: "Frenkil , Steven D." <sfrenkil@MilesStockbridge .com> , "Hoffberger, Victoria (Tory)" <vhoffberger@milesstockbridge.com>
  Date Sent: Monday, June 17, 202410:33 :07 PM GMT-04:00
  Date Received : Monday, June 17, 2024 10:33:25 PM GMT-04:00
  Attachments : extemal.png ,first_time_ sender_warning .png

  I wil l provide you with instructions as to how you can comply with the Order.
  Sent from my i Phone


   On Jun 17, 2024, at 2 1:59 , Ryan Wagner <ryan@mxt3 coin> wrote :




   [EXTERNAL]


   THIS IS NOT OUR WRITTEN RESPONSE

   Will you please send me a copy of the email you sent to ryan .dilloncapps@ohanagp.com on June 14, 2024, at 11 59 AM , to ryan@mxt3.com?

   STILL NOT OUR RESPONSE

   Can someone elaborate on how to comply with the order to give access to Mr. Leadore? Logistically speaking. with sincerity. can someone provide a breakdown of how
   this would occur?



   With gratitude and appreciation,

   RDC




  Confident1al1ty Notice :
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  any unauthori2ed use or dlstrlbut1on of this e-mail 1s strictly prohibited, and requested to delete this communication and its attachment(s) without making any copies thereof and to contact the sender of this e-mail 1mmed1at ely. Noth1n9
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  contact the author If you would like to rece1\le written ad\ltCe in a format which complies with IRS rules and may be rehed upon to a\lold penalties.


  Secure UP.load/Down load fi les click here




                                                                                                                    10 / 91
M&S All Emails Extracted                                                                                     Page# 10 of91                                                                                                   Exhibit 164
                   Case 1:24-cv-03744-BAH                               Document 16-14                       Filed 01/03/25                   Page 11 of 89

  Subject: FW: [EXTERNAL) Notification of Service for Case: C-03-CV-24-002264, Ohan a Growth Partners, LLC vs. Ryan Dillon-Capps for filing \Mil/Summons/Pleading - Electronic Service ,
  Envelope Number: 16870699
  From : "Brennen, Robert S." <RBRENNEN@MilesStockbridge.com>
  To: Ryan Wagner <ryan@mxt3.com>
  Cc : "Frenkil , Steven D." <sfrenkil@MilesStockbridge .com>, "Hoffberger, Victoria (Tory)" <vhoffberger@milesstockbridge.com>
  Date Sent: Tuesday, June 18, 2024 8:39:15AM GMT-04:00
  Date Received : Tuesday, June 18, 2024 8:40:07 AM GMT-04:00
  Attachments : 2024-06-17 CC-008 NOTICE OF HEARINGTRIAL 6-26.pdf

   Per the attached , a hearing on Ohana Growth Partners, LLC's Motion for Preliminary Injunction is set for next Wednesday, June 26 , 2024 from 9 to 11 a.m.

  While Ohana is certain that you are abundantly familiar with the actions necessary to bring you into compliance with the Temporary Restra ining Order entered yesterday,
  here are the steps that you should take :

      1. Create an account in Ghana 's Microsoft 365 tenant, pleadore@ohanag~. Add the account into the Global Administrators group and send the password to
          ~@hartmanadyjsors com via a secure email. If you do not have access to send a secure email , you should send the password to me via text at 443-956-
          6458.
      2 . Provide pleadore@ohanagJl.&Qlll with owner level rights to all Azure subscription plans.
      3. Provide the root level administrator account password in GoDaddy to pleadore@hartmanadvisors com via a secure email. If you do not have access to send a
          secure email , you should send the password to me via text at 443-956-6458 . You should remove all multi-factor authentication apps , phone numbers, and/or email
          addresses associated with the root account.
      4 . Once accounts have been created in Ghana's Microsoft 365 tenant and the root level password provided for the Go Daddy account, refrain from accessing or
          making configuration changes to their Microsoft 365 and GoDaddy accounts .

  You should take all the above actions th is morning so that you are in compliance with the Temporary Restra ining Order by 12 p.m. today. If you fail to do so Ohana will
  have no choice but to file additional papers with the Court seeking to have you held in contempt of the Order and will ask that the Court take up the issue of contempt
  during the hearing on June 26 th .

  As stated in my June 14, 2024 email , Ohana is open to a negotiated resolution to the claims it has asserted in its Complaint and any claims that you believe
  you may have , but will not entertain any discussions until you are in compliance with the Temporary Restraining Order. If you bring yourself into compliance
  and are interested in discussing a resolution , it is possible that the matter could be resolved in advance of the June 26 th hearing

   I look forward to receiving confirmation of your compliance.




  From: no-reply@etilingmail.tylertech.cloud <no-reply@etilingmail .tylertech.cloud>
  Sent: Monday, June 17, 2024 3:42 PM
  To: Brennen, Robert S. <RBRENNEN @MilesStockbridge.com>
  Subject: [EXTERNAL] Notitication of Service for Case: C-03-CV-24-002264, Ohana Growth Partners, LLC vs. Ryan Dillon-Capps for tiling Writ/Summons/ Pleading - Electronic Service ,
  Envelope Number: 16870699


   [EXTERNAL)
                                                                               -- -       ---------



                                                                                                                                Notification of Service
                                                                                                                                      Case Number: C-03-CV-24-002264
                                                                                                            Case Style: Ohana Growth Partners , LLC vs. Ryan Dillon-Capps
                                                                                                                                            Envelope Number: 16870699




   This is a notification of service for the filing listed. Please click the link below to retrieve the submitted document.

                                                                                      Filing Deta ils
   Case Number                                            C-03-CV-24-002264
   Case Style                                             Ohana Growth Partners , LLC vs. Ryan Dillon-Capps
   DatefTime Submitted                                   6/17/2024 3 :41 PM EST
   Filing Type                                           WriUSummons/Pleading - Electronic Service
   Filing Description                                     Hearing Notice
   Filed By                                               K S1
                                                          Ohana Growth Partners , LLC :

                                                          Robert Brennen ( rbrennen@milesstockbridgMQ!!l)

   Service Contacts                                       Steven Frenkil (filrlilllill@mjlesstockbridge..com)

                                                          Victoria Klein (Ylillllil@milesstockbridge..com)

                                                          Kim Edwards (Js.iedward..s.@milesstockbridge..com)


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M&S All Emails Extracted                                                           Page 11 of91                                                                         Exhibit 164
                         Case 1:24-cv-03744-BAH                                                 Document 16-14                                   Filed 01/03/25                             Page 12 of 89
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   contact the author If you would like to receive written advice 1n a format which complies with IRS rules and may be relied upon to avoid penalties.


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M&S All Emails Extracted                                                                                       Page         12 of91                                                                                            Exhibit 164
                    Case 1:24-cv-03744-BAH                                 Document 16-14                        Filed 01/03/25                   Page 13 of 89

  Subject: RE: [EXTERNAL) Notification of Service for Case: C-03-CV-24-002264, Ohana Growth Partners, LLC vs. Ryan Gillon-Capps for filing V\hiVSummons/Pleading - Electronic Servi ce,
  Envelope Number: 16870699
  From : "Brennen , Robert S." <RBRENNEN@MilesStockbridge.com>
  To: Ryan Wagner <ryan@mxt3.com>
  Cc: "Frenkil, Steven D." <sfrenkil@MilesStockbridge.com> , "Hoffberger, Victoria (Tory)" <vhoffberger@milesstockbridge.com>
  Date Sent: Tuesday, June 18, 20241 :12:39 PM GMT-04:00
  Date Received : Tuesday, June 18, 20241 :12:51 PM GMT-04:00

  As neither I nor Mr. Leadore have received the passwords as contemplated below we will be moving forward with contempt proceedings .




  From: Brennen, Robert 5.
  Sent: Tuesday, June 18, 2024 8:39 AM
  To: Ryan Wagner <ryan@mxt3.com >
  Cc: Frenkil , Steven D.<sfrenkil @MilesStockbridge.com >; Hoffberger, Victoria (Tory) <vhoffberger@milesstockbridge.com>
  Subject: FW: [EXTERNAL) Notitication of Service for Case: C-03-CV-24-002264, Ohana Growth Partners, LLC vs. Ryan Dillon-Capps for tiling Writ/Summons/ Pleading - Elect ronic Service,
  Envelope Number: 16870699
  Importance: High


   Per the attached , a hearing on Ohana Growth Partners , LLC 's Motion for Preliminary Injunction is set for next Wednesday, June 26 , 2024 from 9 to 11 a.m.

  While Ohana is certain that you are abundantly familiar with the actions necessary to bring you into compliance with the Temporary Restraining Order entered yesterday,
  here are the steps that you should take:

      1. Create an account in Ohana 's Microsoft 365 tenant, ~@2lla.ru!gJLl;Q!)l. Add the account into the Global Administrators group and send the password to
          pleadore@hartmanadyjsors com via a secure email. If you do not have access to send a secure email , you should send the password to me via text at 44 3-956-
          6458 .
      2 . Provide pleadore@ohanag~ with owner level rights to all Azure subscription plans.
      3. Provide the root level administrator account password in GoDaddy to pleadore@hartmanadyisors com via a secure ema il. If you do not have access to send a
          secure email , you should send the password to me via text at 443-956-6458 . You should remove all multi-factor authentication apps, phone numbers, and/or ema il
          addresses associated with the root account.
      4. Once accounts have been created in Ohana's Microsoft 365 tenant and the root level password provided for the Go Daddy account, refrain from accessing or
          making configuration changes to their Microsoft 365 and GoDaddy accounts .

   You should take all the above actions this morning so that you are in compliance with the Temporary Restraining Order by 12 p.m. today. If you fail to do so Ohana will
   have no choice but to file additional papers with the Court seeking to have you held in contempt of the Order and will ask that the Court take up the issue of contempt
   during the hearing on June 26 th .

  As stated in my June 14, 2024 email, Ohana is open to a negotiated resolution to the claims it has asserted in its Complaint and any claims that you believe
  you may have, but will not entertain any discussions until you are in compliance with the Temporary Restraining Order. If you bring yourself into compliance
  and are interested in discussing a resolution , it is possible that the matter could be resolved in advance of the June 26 th hearing

   I look forward to receiving confirmation of your compliance.




   From: ~Q.[v@etilingmai[.Mertech.doud <~ruv@efiling!l:l.fillJylertech.doud>
   Sent: Monday, June 17, 2024 3:42 PM
   To: Brennen, Roberts. <RBRENNEN@Milesstockbrjdgem>
   Subject: [EXTERNAL) Notification of Service for Case: C-03-CV-24-002264, Oha na Growth Partners, LLC vs. Ryan Dillon-Capps for filin g Writ/Su mmons/ Pleading - Electronic Service ,
   Envelope Number: 16870699


   [EXTERNAL)




                                                                                                                                   Notification of Service
                                                                                                                                         Case Number: C-03-CV-24-002264
                                                                                                               Case Style: Ohana Growth Partners , LLC vs. Ryan Dillon-Capps
                                                                                                                                               Envelope Number: 16870699




   This is a notification of servi ce for the filing listed . Please click the link below to retrieve the submitted document.

                                                                                        Filing Details
   Case Number                                             C-03-CV-24-002264
   Case Style                                              Ohana Growth Partners , LLC vs . Ryan Dillon-Capps
   DatefTime Submitted                                     6/17/2024 3 :41 PM EST
   Filing Type                                             WriUSummons/Pleading - Electronic Service
   Filing Description                                      Hearing Notice
   Filed By                                                K S1

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M&S All Emails Extracted                                                              Page# 13 of9l                                                                         Exhibit 164
                         Case 1:24-cv-03744-BAH                                                 Document 16-14                                   Filed 01/03/25                              Page 14 of 89
                                                                           Ohana Growth Partners, LLC:

                                                                           Robert Brennen (rbrennen@mi!esstockbridg~

   Service Contacts                                                         Steven Frenkil (srrenlill@milesstockbrjdge.GQ!!!)

                                                                           Victoria Klein (~@milesstockbddge...com)

                                                                           Kim Edwards (Jsjedwaa1J;@milesstockbddge...com)




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  contact the author 1f you would Hke to receive written advice ,n a format which complies with IRS rules and may be rehed upon to avotd penalties.


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M&S All Emails Extracted                                                                                      Page # 14 of9l                                                                                                   Exhibit 164
                        Case 1:24-cv-03744-BAH                            Document 16-14                       Filed 01/03/25                  Page 15 of 89
     ,J

   Subject: RE: [EXTERNAL) Notification of Service for Case: C-03-CV-24-002264, Ohana Growth Partners , LLC vs. Ryan Dillon-Capps for filing \MiVSummons/Pleading - Electronic Service ,
   Envelope Number: 16870699
   From : "Brennen, Robert S." <RBRENNEN@MilesStockbridge.com>
   To: "ryan@mxt3.com" <ryan@mxt3.com>
   Date Sent: Tuesday, June 18, 2024 1:30:04 PM GMT-04:00
   Date Received : Tuesday, June 18, 20241 :30:18 PM GMT-04:00

   Are you going to send me a copy of what you presented to the Court?




   From: Ryan Wagner <ryan@mxt3.com>
   Sent: Tuesd ay, June 18, 2024 1:26 PM
   To: Brennen, Robert S. <RBRENNEN@MilesStockbridge.com>
   Subject: Re: [EXTERNAL] Notification of Service for Case: C-03-CV-24-002264, Ohana Growth Partners, LLC vs. Ryan Dillon-Capps for tiling Writ/Summons/Plead ing - Electronic Service ,
   Envelope Number: 16870699


   [EXTERNAL)

   I just left the courthouse after providing a letter to the clerk for the chambers judge. My lawyer has a death in the family and is at a preschedules
   conference next week and we are looking for another attorney who can received to this urgency issue. The judge also received documentation showing
   the suspension was illegal and the TRO is asking me to something illegal.

   Please allow lime for the judge to review.

   On Tue , Jun 18 , 2024 , 1 :12 PM Brennen , Robert S .< RBRENNEN@mUesstockbridge...com> wrote :

     As neither I nor Mr. Leadore have received the passwords as contemplated below we will be moving forward with contempt proceedings.

          Robert Brennen Pwinc1pat
          Miles & Stockbridge
          direct: +1 (410) 385-3653


     From : Brennen , Robert S.
     Sent: Tuesday, June 18, 2024 8:39 AM
     To: Ryan Wagner <rvan@mxt3 .com>
     Cc: Frenkil, Steven D.< sfrenkil@MUesStockbridge.com>; Hoftberger, Victoria (Tory) <vhoftberger@milesstockbridge.com>
     Subject: FW: [EXTERNAL] Notification of Service for Case: C-03-CV-24-002264, Ohana Growth Partners, LLC vs. Ryan Dillon-Capps for filing Writ/Summons/ Pleading - Electronic
     Service, Envelope Number: 16870699
     Importance: High

     Per the attached , a hearing on Ohana Growth Partners , LLC 's Motion for Preliminary Injunction is set for next Wednesday, June 26 , 2024 from 9 to 11 a.m.

     While Ohana is certa in that you are abundantly familiar with the actions necessary to bring you into compliance with the Temporary Restraining Order entered
     yesterday, here are the steps that you should take:


           1. Create an account in Ohana 's Microsoft 365 tenant, ~@ohanag~. Add the account into the Global Administrators group and send the password to
              pleadore@hartmanadvisors com via a secure email. If you do not have access to send a secure email , you should send the password to me via text at 443-956-
              6458.
           2. Provide ~@.ohanagP&QID with owner level rights to all Azure subscription plans.
           3. Provide the root level administrator account password in GoDaddy to pJead_ore@hartmanadyjsors com via a secure email. If you do not have access to send a
              secure email , you should send the password to me via text at 443-956-6458 . You should remove all multi-factor authentication apps , phone numbers , and/or
              email addresses associated with the root account.
           4. Once accounts have been created in Ohana's Microsoft 365 tenant and the root level password provided for the GoDaddy account, refrain from accessing or
              making configuration changes to their Microsoft 365 and GoDaddy accounts.

     You should take all the above actions this morning so that you are in compliance with the Temporary Restrain ing Order by 12 p.m. today. If you fail to do so Ohana will
     have no choice but to file additional papers with the Court seeking to have you held in contempt of the Order and will ask that the Court take up the issue of contempt
     during the hearing on June 26 th .

     As stated in my June 14, 2024 email, Ohana is open to a negotiated resolution to the claims it has asserted in its Complaint and any claims that you believe
     you may have, but will not entertain any discussions until you are in compliance with the Temporary Restraining Order. If you bring yourself into
     compliance and are interested in discussing a resolution , it is possible that the matter could be resolved in advance of the June 26 th hearing

     I look forward to receiving confirmation of your compliance.



          Robert Brennen P!incipol
          Miles & Stockbridge
          direct: +1 (410) 385-3653


     From : =Rly..@mtingmail.tylertech doud <=RIY..@..elilinglllfill,tylertech cloud>
     Sent: Monday, June 17, 2024 3:42 PM
     To: Brennen , Roberts. <RBRENNEN@Milesstockbrid~>
     Subject: [EXTERNAL] Notification of Service for Case: C-03-CV-24-002264, Ohana Growth Partners, LLC vs. Ryan Dillon-Capps for filing Writ/Summons/ Pleading - Electronic Service,
     Envelope Number: 16870699


     [EXTERNAL)



                                                                                         15 / 91
M&S All Emails Extracted                                                            Page# 15 of 91                                                                       Exhibit 164
                       Case 1:24-cv-03744-BAH                                               Document 16-14                                  Filed 01/03/25                            Page 16 of 89

                                                                                                                                                                    Notification of Service
                                                                                                                                                                     Case Number: C-03-CV-24-002264
                                                                                                                                          Case Style : Ohana Growth Partners, LLC vs. Ryan Dillon-Capps
                                                                                                                                                                           Envelope Number: 16870699

    This is a notification of service for the filing listed. Please click the link below to retrieve the submitted document.

                                                                                                              Filing Details
     Case Number                                                           C-03-CV-24-002264
     Case Style                                                            Ohana Growth Partners , LLC vs. Ryan Dillon-Capps
     Date/Time Submitted                                                   6/17/2024 3:41 PM EST
     Filing Type                                                          WriUSummons/Pleading - Electronic Service
     Filing Description                                                    Hearing Notice
     Filed By                                                              K S1
                                                                           Ohana Growth Partners, LLC :

                                                                           Robert Brennen (rbrennen@mi!esstockbridgtiQffil

     Service Contacts                                                      Steven Frenkil (sfrenkil@mi!esstockbridgtiQffil

                                                                          Victoria Klein (vklein@miless!ockbridg~

                                                                           Kim Edwards (Jsjedwa[ds@milesstockb[idgtiQffil




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M&S All Emails Extracted                                                                                  Page# 16 of91                                                                                                Exhibit 164
                          Case 1:24-cv-03744-BAH                                                 Document 16-14                                  Filed 01/03/25                             Page 17 of 89

  Subj ect: Re: [EXTERNAL) "Security Envelope -20240618 Letter to Judge.pdf' shared with you
  From : "Brennen , Robert S." <RBRENNEN@MilesStockbridge.com>
  To: "ryan@mxt3.com" <ryan@mxt3.com>
  Cc : "Frenkil, Steven D." <sfrenkil@MilesStockbridge.com> , "Hoffberger, Victoria (Tory)" <vhoffberger@milesstockbridge.com>
  Date Sent: Tuesday, June 18, 2024 5:52 :43 PM GMT-04:00
  Date Received: Tuesday, June 18, 2024 5:52 :56 PM GMT-04:00
  Attachm ents: extemal.png ,action_waming .png

   No one can open and view the document.
   Please include Mr. Frenkil and Ms. Hoffberger on the communication including passwords.

  Sent from my iPhone


    On Jun 18, 2024, at 16:40 , Ryan Wagner <ryan@mxt3 .com> wrote :



    (EXTERNAL)


    Hi ,

   The password will be sent to 443-956-6458 .

    Here's the file "Security Envelope -20240618 Letter to Judge.pdt" for )'OLI to view.
   b.llpsljacrobat.adobe com/id/um aaid sc va6c2-a5t77a66-7e70-430f-ab32-6f337865 I 5fb
    You don't need to download Acrobat to access the file .



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   contact the author 1f you would like to receive written advice in a format which complies with IRS rules and may be relied upon to avoid penalties.


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M&S All Emails Extracted                                                                                       Page # 17 of91                                                                                                  Exhibit 164
                     Case 1:24-cv-03744-BAH                                 Document 16-14                        Filed 01/03/25                   Page 18 of 89

   Subject: FW [EXTERNAL) Filing Submitted for Case: C-03-CV-24-002264 ; Ohana Growth Partners, LLC vs. Ryan Dillon-Capps; Envelope Number: 16909122
   From : "Brennen , Robert S." <RBRENNEN@MilesStockbridge.com>
   To: Ryan Wagner <ryan@mxt3.com>
   Cc : "Hoffberger, Victoria (Tory)" <vhoffberger@milesstockbridge.com> , "Frenki l, Steven D." <sfrenkil@MilesStockbridge.com> , "Edwards , Kimale J." <kjedwards@MilesStockbridge .com >
   Date Sent: Thursday, June 20, 2024 12:40:13 PM GMT-04:00
   Date Received : Thursday, June 20, 2024 12:41 :01 PM GMT-04 :00
   Attachments : 2024-06-20 - Petition to Show Cause and for Constructi ve Contempt.pdf

   A copy of the attached was just filed with the Clerk of the Circuit Court for Baltimore County.




   From: no-reply@etilingmail.tylertech.cloud <no-reply@etilingmail.tylertech.cloud>
   Sent: Thursday, June 20, 2024 12:26 PM
   To: Brennen, Robert S.<RBRENNEN@MilesStockbridge.com>
   Subject: [EXTERNAL) Filing Submitted for Case: C-03-CV-24-002264; Ohana Growth Partners, LLC vs. Ryan Di ll on-Capps; Envelope Number: 16909122



   [EXTERNAL)




                                                                                                                                                    Filing Submitted
                                                                                                                                                Envelope Number: 16909122
                                                                                                                                          Case Number: C-03-CV-24-002264
                                                                                                                Case Style: Ohana Growth Partners , LLC vs. Ryan Dillon-Capps



   The filing below has been submitted to the clerk's office for review. Please allow 24 - 48 hours for clerk office processing.

                                                                                         Filing Details
   Court                                                    3rd Circuit
   Date/Time Submitted                                      6/20/2024 12:24 PM EST
   Filing Type                                              Petition for ContempUEnforcement
   Filing Description                                       Petition to Show Cause and For Constructive Civil Contempt
   Type of Filing                                           EFileAndServe
    Filed By                                                Robert Brennen
    Filing Attorney                                         Robert Brennen

                                                                                          Fee Details
   Your account is never charged until your filing is accepted. If you see any pending charges on your account prior to acceptance , this is an authorization
   hold to ensure the funds are available so your filing can be accepted without delay.

   If the filing is canceled or rejected these funds will be released and will return to your account according to your financial institution's policies (typically 3-
   10 business days).
    This envelope is pending review and fees may change.
    Case Fee Information                        $1 .08
    Payment Service Fees                        $1.08
    Petition for ContempUEnforcement            $31.00
    Court Fees                                  $31.00
    Proposed Order I Decree                     $0.00
   Total:$32 .08 (The envelope still has pending filings and the fees are subject to change)

                                                                                      Document Details
    Lead Document                                           Petition to Show Cause and for Contempt.pdf
    Lead Document Page Count                                6
    File Copy                                               ClQltllllQad ClQCU!Il!ml
                                                                               This link is active for 60 days .

                                                                For technical assistance, contact your service provider

   Odyssey File & Serve

   (800) 297-5377

   Please do not reply to this email. It was automatically generated.




                                                                                          18 / 91
M&S All Emails Extracted                                                               Page # 18 of91                                                                         Exhibit 164
                         Case 1:24-cv-03744-BAH                                                 Document 16-14                                   Filed 01/03/25                             Page 19 of 89


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  Any federal tax advice provided in this communication 1s not intended or written by the author to be used, and cannot be used by the recipient, for the purpose of avoiding penalties which may be imposed on the recipient by the IRS. Please
  contact the author 1f you would like to r eceive written advice in a format which complies with IRS rules and may be relted upon to av01d penalties.


  ~oload/Download fi les dick here




                                                                                                                 19 / 91
M&S All Emails Extracted                                                                                      Page# 19 of91                                                                                                   Exhibit 164
                    Case 1:24-cv-03744-BAH                               Document 16-14                       Filed 01/03/25                   Page 20 of 89

  Subject: RE : [EXTERNAL) Notification of Service for Case: C-03-CV-24-002264, Ohana Growth Partners , LLC vs. Ryan Dillon-Capps for filing V\hiVSummons/Pleading - Electronic Service,
  Envelope Number: 16870699
  From : "Brennen , Robert S." <RBRENNEN@MilesStockbridge.com>
  To: "ryan@mxt3.com" <ryan@mxt3.com>
  Cc: "Frenkil, Steven D." <sfrenkil@MilesStockbridge.com>, "Hoffberger, Victoria (Tory)" <vhoffberger@milesstockbridge.com>
  Date Sent: Monday, June 24, 2024 1:23:42 PM GMT-04:00
  Date Received : Monday, June 24 , 2024 1:24:00 PM GMT-04:00

  As you have seen , the Court rejected your assertions that PCI compliance issues prevent you from complying with the Temporary Restraining Order and
  has directed that you appear at the hearing scheduled for Wednesday to explain why you should not be held in contempt of court.

  Below you claim that you "would greatly appreciate anything [I) could do to help us negotiate an end to this. " I am authorized by Ohana to make the
  following proposal:

         1. You must immediately comply with the 4 steps I communicated a week ago:
  ---------=                  i. _ Create an account in Ohana 's Microsoft 365 tenant, Rleadore@ohanami.com. Add the account into the Global Administrators
                             group and send the password to Rleadore@hartmanadvisors.com via a secure email. If you do not have access to send a secure
                             email, you should send the password to me via text at 443-956-6458.
  - - - - - - - - ~i=i. _ Provide Qleadore@ohanagQ.com with owner level rights to all Azure subscription plans.
  _ _ _ _ _ _ _ _-!!.      iii".-_ Provide the root level administrator account password in GoDaddy to Qleadore@hartmanadvisors.com via a secure email. If
                             you do not have access to send a secure email, you should send the password to me via text at 443-956-6458. You should remove
                             all multi-factor authentication apps , phone numbers, and/or email addresses associated with the root account.
                            iv. Once accounts have been created in Ohana's Microsoft 365 tenant and the root level Rassword wovided for the GoDaddY.
                             account, refrain from accessing or making configuration changes to their Microsoft 365 and GoDaddy accounts.
          Note that this provision is non-negotiable and cannot be subject to or held up by any requests by you for information from or about Mr. Leadore. You
          perform the steps/actions as stated ; period.
         2. You send an email to Ms. Lauren Prinkey, Judicial Assistant to the Honorable Keith R. Truffer, cc'ing me and my colleagues Mr. Frenkil and Ms .
            Hoffberger, and asking her to advise the Court that you consent to the entry of the preliminary injunction.
  Once we receive confirmation from Mr. Leadore that he has obtained Global Administration rights in Ohana's Microsoft 365, owner rights to all Azure
  subscription plans and administrative control over the GoDaddy Account , Ohana will :
     1. Withdraw its motion to have you held in contempt of the TRO;
     2. Request that the Court cancel the scheduled June 26 th hearing as moot and unnecessary; and
     3. Pause the litigation for 30 days in order to provide an opportunity for your situation to stabilize and for you and Ohana to attempt to negotiate an end
        to the litigation.

   Time is of the essence. If you do not complete the four steps in Item 1 by 5:30 p.m. today the entire proposal is off the table.




  From: Ryan Wagner <ryan@mxt3.com>
  Sent: Tuesday, June 18, 2024 5:30 PM
  To: Brennen, Robert S.<RBRENNEN@MilesStockbridge.com>
  Subject: Re: [EXTERNAL) Notification of Service for Case : C-03-CV-24-002264, Ohana Growth Partners, LLC vs. Ryan Dillon-Capps for filing Writ/Summons/ Pleading - Electronic Service,
  Envelope Number: 16870699


  [EXTERNAL)

   I am writing to confirm that the share link to the encrypted envelope and file should have been received . The password has been texted to you separately
   for security purposes.

   In my haste, I did not request a copy ofmy submiss ion from lhe clerk . It was signed, and loday's chamber judge was named. Due to the urgency of the situauon. I was
   rushing. but assuming everything was primed correctly, the auachmem should be what the judge has. I apologize for any delay Earlier in the week. I informed Jusun and
   Glenn that I could no longer sustain the current situation and required assistance . Glenn mentioned what I assume to be Hartman Executive Advisors. My recent email lo
   Mr. Leadore reiterates my openness to support.

   I should clarify that the plaintiffs are not technical experts, and their response lo my concerns has consistentl y been, " I disagree." Throughout this process. I have provided
   numerous options and proactively suggested solutions to maintain PC! compliance w hi le accommodating their requests. M y current state is barely functional , and my
   wife, a licensed therapist with extensive trauma counseling experience. is primarily taki ng care ofme . I have been in and out ofa non-functional stale for days now. and
   leading up to this, I have repeatedly requested contact information from their auorney. When I asked Holly Butler, her instruction was that I go through Ohana, which is
   confusing given that you are all part oflhe same law firm . They have refused to provide me with your inform ation . and I had to obtain it from the filing.

   There have been two formal written requests for your information because I want this to end. They persist, and when not targeting me, they go after Darren. Ann. and the
   help desk. Ann requested time off for mental health reasons yesterday. When I inquired about her well-being, she disclosed that she had experienced a panic attack but did
   not recogni ze it until she saw a doctor.

   On Thursday, I sent emails about Rich's actions against Darren, spoke with Victor and Lynne, and had a lengthy text chain with Justin. Al no point did anyone say I was
   suspended, and I believed Rich was dangerous for hours. I sent my wife away, I sent Ann home, and I reached out to two senior directors for backup before someone
   responded to me. I w ul      rea ly pyreciate anything you could do to helR us negotiate an end to this. The only condition that is not acceptable is that anyone 1s left
   unprotected, and in the last 30 days alone, it has been clearly documented in writing that they are also targeting Ann, Darren, and Cic io. There are more examples
   stretching back even further for al I of us.

   Thank you for your attention to this maller. I am doing the best I can, and technically, si nce I said I would tell them when I was back. my FMLA leave is still acuve. If
   they believe something else to be true, please inform them that as a result of the escalated hostility, I w ill be on FMLA leave until further notice. The statement about there
   being no other administrators is incorrect. LeeAnn continues to hold the role of Billing Administrator, and the support team continues to hold the priv ileged ro le of User
   Administrator. Since Darren was removed, there have been some gaps in A zure administration . I would like to provide this access to Dante M artinez, who is the Help
   Desk Manager. The gap in understanding what the Global Admi nistrator role does underscores how their statements do not qualify as expert testimony.

   Thank you for your attention to this matter.


                                                                                         20 / 91
M&S All Emails Extracted                                                           Page# 20 of91                                                                         Exhibit 164
                      Case 1:24-cv-03744-BAH                             Document 16-14                       Filed 01/03/25                   Page 21 of 89

   with gratitude and appreciation,

   ROC

   On Tue , Jun 18. 2024 at 1 :41 PM Ryan Wagner <ry.fill@mxt3 .com> wrote:
     I am in my car. and I definitly can give you the letter. I do not know the proceedure for the rest of it.

     I would have sent it you soon sooner. but I have been non-functioning for most of the time since the suspension. I do not think you would have filed the
     case at all if you had been given even the full emails where the make coercive threats and supporting emails and texts . For example. the cease and
     desist was because I had been on FMLA leave time for less than 2 hours before the 6hour demand letter to work or else. I cant think of a reason to not
     give it to you because it was supposed to be our filing against multiple people at Ohana in our own TRO , preliminary injunction. and Peace Order along
     with other documents supporting what we are requesting .

     Please give me a moment to stop shaking and get to a computer

     On Tue. Jun 18. 2024. 1:30 PM Brennen . Robert S. <RBRENNEN@mi!esstockbridge...cQ!Il> wrote:
       Are you going to send me a copy of what you presented to the Court?
         Robert Brennen PrinciP-Q.l1
         Miles & Stockbridg~
         direct: +1 {410) 385-3653


       From: Ryan Wagn~ : : : ,
       Sent: Tuesday, June 18. 2024 1:26 PM
       To: Brennen, Robert 5. <RBRENNEN@Milesstockbridge,J;Q(IJ;::,
       Subject: Re: [EXTERNAL) Notification of Service for Case: C-03-CV-24-002264. Ohana Growth Partners. LLC vs. Ryan Dillon-Cap_Rs for filing Writ/Summon s/Pleading - Electronic
       Service, EnveloRe Number: 16870699




       !_just left the courthouse after Rroviding a letter to the clerk for the chambers judge. My la~er has a death in the family and is at a Rreschedules
       conference next week and we are looking for another attorney who can received to this urgency issue. The j!dQge also received documentation
       showing the susJ2ension was illegal and the TRO is asking me to something~g!l.L

       Please allow time for the judge to review.

       On Tue . Jun 18. 2024. 1:12PM Brennen . Robert S. < RBRENNEN@mj[esstockbrjd~> wrote :
         As neither I nor Mr. Leadore have received the P.asswords as contemP.lated below we will be moving forward with contemp_lp~gs.,
           Robert Brennen     Pti~
           Mi les & Stockbr idg~
           direct: +1 {410) 385-3653


         From : Brennen , Rob ert 5.
         Sent: Tuesday, June 18. 2024 8:39 AM
         To: Ryan Wag~                      :::,
         Cc: Frenkil. Steven D. <sfrenkil@MilesStockbridge,J;Q!IJ;::,; Hoffberg~ Victoria (Tory)~ rger@milesstockbridge,J;Q!IJ;::,
         Subject: FW: [EXTERNAL] Notification of Service for Case: C-03-CV-24-002264, Ohana Growth Partners. LLC vs. Ryan Dillon-Cai:ms for tiling Writ/Summons/Pleading - Electronic
         Service. EnveloRe Number: 16870699
         IIDoortance: Higb.

         Per the attached,..s!...hefilir!g on Ohana Growth Partners, LLC 's Motion for Prelimina[YJojunction is set for next Wednesday, June 26. 2024 from 9 to 11 a.m.

         Wh ile Ohana is certain that you are abundantly familiar with the actions necessa[Y to bring _you into comP.liance with the TemP.ora[Y Restrain ing Order entered
         yesterday, here are the sleP.s that you should take :


             1. Create an account in Ohana 's Microsoft 365 tenanl , ~@l21JanagJl.C!l[□ . Add the account into the Global Admin istrators grouP. and send the ~
                ~@hartmanadyjsors comvia a secure email. If you do not have access to send a secure email._you should send the P.assword to me via text at
                443-9 56-6458.
             2. Provide p[eadore@l21lanagp com with owner level rights to all Azure subscriP.tion plans.
             3. Provide the root level adm inistrator account password in GoDaddyjQ_p),eadarf!@hartmanadyisors com via a secure email. If you do not have access to send
                a secure email,_you should send the P.assword to me via text at 44 3-956-6458. You should remove all multi-factor authentication aP.p_§_._P.hone numbers.
                and/or email addresses associated with the root account.
             4. Once accounts have been created in Ohana's Microsoft 365 tenant and the root level P.assword P.rovided for the GoDaddy account, refrain from accessing
                or making configuration changes to their Microsoft 365 and GoDaddy accounts.

         You should take all the above actions this morning so that you are in compliance with the Tempora[Y Restra ining Order by...1l_P..m. today,.Jiyou fail to do so Ohan a
         will have no choice but to file additional paP.ers with the Court seeking to have you held in contemP.I of the Order and will ask that the Court take UR the issue of
         i;QO,!emRLd.l.!ri!!g the hearing on June 26 th .

         As stated in my ~, 2024 email. Ohana is open to a negotiated resolution to the claims it has asserted in its ComJ2laint and any claims that Y.fill
         believe you may have. but will not entertain any discussions until you are in compliance with the TemJ2ora[Y Restraining Order. If you bring _yourself
         into..~rrmliance and are interested in discussing a resolution . it is ROSsible that the matter could be resolved in advance of the June 26 th hearing

         I look forward to receiving confirmation of your comP.liance.

           Robert Brennen     PrinciP.Q.I


                                                                                         21 / 91
M&S All Emails Extracted                                                           Page# 21 of91                                                                        Exhibit 164
                      Case 1:24-cv-03744-BAH                                             Document 16-14                                 Filed 01/03/25                            Page 22 of 89
            M iles & Stockbridg~
            direct : +1 (410) 385-3653


       From: no-reR]~g,mail.Mectecb d o u d ~ R I ~ ~~
       Sent: Monday, June 17, 2024 3:42 PM
       To: Brennen , Robert S. <RBRENNEN @MilesStockbridge.i;om~
       Subject: [EXTERNAL] Notifi cation of Service for Ca se: C-03-CV- 24-002264, Ohana Growth Partners, LLC vs. Rya n Dillon-CaP.RSfo r fil ing Writ/Summons/Pleading - El ectronic
       Servi ce, EnveloP.e Number: 16870699




                                                                                                                                                                Notification of Service
                                                                                                                                                                                   Case Number: C-03-CV-24-002264
                                                                                                                                                       Case Style : Ohan a Growth Partn ers, LLC vs. Ryan Dillon-CaP.PJ;
                                                                                                                                                                                          Envelope Nu mber: 16870699

       This is a notification of service for the filing listed . Please click the link below to retrieve the submitted document.

       '
                                                                                                              Filing Details
           Case Number                                                     C-03-CV-24-002264
           CaseS!}'le                                                      Ohana Growth Partners , LLC vs. Ryan Dillon-Cai:ms
           Di!te/Time Submitt!ild                                          6/17/2024 3:4 1 PM EST
           Filing TyJ!e                                                    WriUSummons/Pleading - Electronic Service
           Filing DescriP-tion                                              Hearing Notice
           ~Y.                                                              K S1
                                                                           Ohana Growth Partners , LLC :

                                                                            Robert Brennen (rbrennen@milesstockbddge.com).

           Service Contacts                                                Steven Frenkil (sfrenkil@milesstockbddg.e..com).

                                                                           Victoria Klein (.\lkleio@mi[esstockbddgfLl:O[Il)

                                                                           Kim Edwards (l<jedlt:lllrds@roilesstockbddg.e..com).




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                                                                                                         22 / 91
M&S All Emails Extracted                                                                              Page 22 of91                                                                                                 Exhibit 164
                          Case 1:24-cv-03744-BAH                                               Document 16-14                                   Filed 01/03/25                            Page 23 of 89

  Subject : Fwd : [EXTERNAL] Ghana Growth Partners, LLC v. Ryan Dillon-Capps - C-03-CV-24-2264
  From : "Brennen , Robert S." <RBRENNEN@MilesStockbridge.com>
  To: "ryan@mxt3.com" <ryan@mxt3.com>
  Date Sent: Monday, June 24, 2024 6:58:40 PM GMT-04:00
  Date Received : Monday, June 24, 2024 6:59:27 PM GMT-04 :00
  Attachments : 1942_001 .pdf


  Sem from my iPhone

  Begin forwarded message:


   From: Lauren Prinkey <Lauren.Prinkey@mdcourts.gov>
   Date: June 21, 2024 at 12:04 :28 EDT
   To: "Brennen, Robert S." <RBRENNEN@milesstockbridge.com>, "Frenk il, Steven D." <sfrenkil @milesstockbridge.com>, ryan@111xt3 .com
   Subject: IEXTERNA LI Obana Growth Partn ers, LLC v. Rya n Dillon-Ca pps - C-03-CV-24-2264




   [EXTERNAL)



   Good aflernoon,



    Please see the attached orders from the court.



   Thank you,

    Lauren



    Lauren Prinkey

   Judicial Assistant to the Honorab le Keith R. Truffer

    Circuit Court for Baltimore County

   40 I Bosley Avenue

    Towson, MD 21204

    41 0-887-6515 (Office)

    41 0-296- 181 0 (Fax)




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   contact the author 1f you would like to receive written advice ma format which complies with I RS rules and may be relied upon to avoid penalt1Cs.


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                                                                                                                23 / 91
M&S All Emails Extracted                                                                                     Page# 23 of91                                                                                                  Exhibit 164
              Case 1:24-cv-03744-BAH            Document 16-14          Filed 01/03/25       Page 24 of 89

   Subject: Re: [EXTERNAL) Notification of Service for Case: C-03-CV-24-002264, Ohana Growth Partners, LLC vs. Ryan
   Dillon-Capps for filing WriUSummons/Pleading - Electronic Service, Envelope Number: 16870699
   From : "Brennen , Robert S." <RBRENNEN@MilesStockbridge.com>
   To: "ryan@mxt3.com" <ryan@mxt3.com>
   Cc: "Frenkil, Steven D." <sfrenkil@MilesStockbridge.com> , "Hoffberger, Victoria (Tory)"
   <vhoffberger@milesstockbridge.com> , "pleadore@hartmanadvisors.com" <pleadore@hartmanadvisors.com>
   Date Sent: Monday, June 24 , 2024 7:05:31 PM GMT-04:00
   Date Received : Monday, June 24, 2024 7:05:48 PM GMT-04 :00
   Attachments : image001.png,external.png,action_warning.png

   I just forwarded Ms. Prinkney 's email that went to you On Friday
   Sent from my iPhone


    On Jun 24, 2024, at 18:54, Ryan Wagner <ryan@mxt3.com > wrote:



    [EXTERNAL]


    @ Brennen, Robert S. I am not ignoring you; I am suffering from severe PTSD complications and doing the
    best I can.

    I am still waiting to see the court's assertion. How are they being delivered? May I have a copy?

    You mentioned Ms. Lauren Prinkey, Judicial Assistant to the Honorable Keith R. Truffer. May I hav e that
    email address?

    I am eager to read the court's assertion and have the email you mentioned in your instructions.

    Thank you,
    RDC


    On Mon, Jun 24, 2024 at I :24 PM Brennen , Robert S. < RBRENNEN@milesstockbridge.com> wrote:

      As you have seen, the Court rejected your assertions that PC! compliance issues prevent you from
      complying with the Temporary Restraining Order and has directed that you appear at the hearing scheduled
      for Wednesday to explain why you should not be held in contempt of court.



      Below you claim that you "would greatly appreciate anything [I] could do to help us negotiate an end to
      this. " I am authorized by Ohana to make the following proposal:



               1. You must immediately comply with the 4 steps I communicated a week ago:

                                                            i. Create an account in Ohana's Microsoft 365 tenant,
                                 P.leadore@ohanagP..com. Add the account into the Global Administrators group
                                 and send the password to P.leadore@ hartmanadvisors.com via a secure email. If
                                 you do not have access to send a secure email, you should send the password to
                                 me via text at 443-956-6458.


                                                          24 / 91
M&S All Emails Extracted                               Page # 24 of91                                         Exhibit 164
              Case 1:24-cv-03744-BAH                   Document 16-14      Filed 01/03/25      Page 25 of 89
                                                               ii. Provide pleadore@ohanagp.com with owner level
                                   rights to all Azure subscription plans.

                                                            iii. Provide the root level administrator account
                                   password in GoDaddy to pleadore@hartmanadvisors.com via a secure email. If
                                   you do not have access to send a secure email , you should send the password to
                                   me via text at 443-956-6458. You should remove all multi-factor authentication
                                   apps, phone numbers, and/or email addresses associated with the root account.

                                                             iv. Once accounts have been created in Ohana's
                                   Microsoft 365 tenant and the root level password provided for the GoDaddY.
                                   account, refrain from accessing or making configuration changes to their
                                   Microsoft 365 and GoDaddY. accounts.

              Note that this provision is non-negotiable and cannot be subject to or held up by any requests by you
              for information from or about Mr. Leadore. You perform the steps/actions as stated ; period.

              2. You send an email to Ms. Lauren Prinkey, Judicial Assistant to the Honorable Keith R. Truffer,
                 cc'ing me and my colleagues Mr. Frenkil and Ms. Hoffberger, and asking her to advise the Court
                 that you consent to the entry of the preliminary injunction.

      Once we receive confirmation from Mr. Leadore that he has obtained Global Administration rights in
      Ohana's Microsoft 365 , owner rights to all Azure subscription plans and administrative control over the
      GoDaddy Account, Ohana will:

          I. Withdraw its motion to have you held in contempt of the TRO;
          2. Request that the Court cancel the scheduled June 26 th hearing as moot and unnecessary ; and
          3. Pause the litigation for 30 days in order to provide an opportunity for your situation to stabilize and
             for you and Ohana to attempt to negotiate an end to the litigation.



      Time is of the essence. If you do not complete the four steps in Item 1 by 5:30 p.m. today the entire
      proposal is off the table.




                           Robert Brennen Prine;ipa
                           Miles & Stockbridge
                           direct: +1 (410) 385-3653




      From: Ryan Wagner <rv.an@mxt3.com >
      Sent: Tuesday, June 18, 2024 5:30 PM
      To: Brennen, Robert S.<RBRENNEN@MilesStockbridge.com>
      Subject: Re: [EXTERNAL] Notification of Service for Case: C-03-CV-24-002264, Ohana Growth Partners, LLC vs . Ryan
      Dillon-Capps for tiling Writ/Summons/Pleading - Electronic Service, Envelope Number: 16870699




                                                              25 / 91
M&S All Emails Extracted                                   Page# 25 of91                                        Exhibit 164
              Case 1:24-cv-03744-BAH            Document 16-14          Filed 01/03/25       Page 26 of 89
    • [EXTERNAL]


      I am writing to confirm that the share link to the encrypted envelope and file should have been received. The
      password has been texted to you separately for security purposes.

      In my haste, I did not request a copy of my submission from the clerk. It was signed, and today's chamber
      judge was named. Due to the urgency of the situation , I was rushing, but assuming everything was printed
      correctly, the attachment should be what the judge has. I apologize for any delay. Earlier in the week, I
      informed Justin and Glenn that I could no longer sustain the current situation and required assistance. Glenn
      mentioned what I assume to be Hartman Executive Advisors . My recent email to Mr. Leadore reiterates my
      openness to support.

      I should clarify that the plaintiffs are not technical experts, and their response to my concerns has
      consistently been, "I disagree." Throughout this process, I have provided numerous options and proactively
      suggested solutions to maintain PCI compliance while accommodating their requests. My current state is
      barely functional, and my wife, a licensed therapist with extensive trauma counseling experience, is
      primarily taking care of me. I have been in and out of a non-functional state for days now, and leading up to
      this, I have repeatedly requested contact information from their attorney. When I asked Holly Butler, her
      instruction was that I go through Ohana, which is confusing given that you are all part of the same law firm.
      They have refused to provide me with your information , and I had to obtain it from the filing.

      There have been two formal written requests for your information because I want this to end. They persist,
      and when not targeting me, they go after Darren , Ann , and the help desk. Ann requested time off for mental
      health reasons yesterday. When I inquired about her well-being, she disclosed that she had experienced a
      panic attack but did not recognize it until she saw a doctor.

      On Thursday, I sent emails about Rich's actions against Darren , spoke with Victor and Lynne, and had a
      lengthy text chain with Justin. At no point did anyone say I was suspended, and I believed Rich was
      dangerous for hours. I sent my wife away, I sent Ann home, and I reached out to two senior directors for
      backup before someone responded to me. I would greatl)'. apyreciate anything you could do to help us
      negotiate an end to this. The only condition that is not acceptable is that anyone is left unprotected, and in
      the last 30 days alone, it has been clearly documented in writing that they are also targeting Ann , Darren,
      and Cielo. There are more examples stretching back even further for all of us.

      Thank you for your attention to this matter. I am doing the best I can, and technically, since I said I would
      tell them when I was back, my FMLA leave is still active. If they believe something else to be true, please
      inform them that as a result of the escalated hostility, I will be on FMLA leave until further notice. The
      statement about there being no other administrators is incorrect. LeeAnn continues to hold the role of Billing
      Administrator, and the support team continues to hold the privileged role of User Administrator. Since
      Darren was removed, there have been some gaps in Azure administration. I would like to provide this access
      to Dante Martinez, who is the Help Desk Manager. The gap in understanding what the Global Administrator
      role does underscores how their statements do not qualify as expert testimony.

      Thank you for your attention to this matter.



      with gratitude and appreciation,

      RDC



      On Tue, Jun 18, 2024 at 1:41 PM Ryan Wagner <fY.an @ mxt3.com> wrote:

                                                          26 / 91
M&S All Emails Extracted                               Page# 26 of91                                          Exhibit 164
              Case 1:24-cv-03744-BAH              Document 16-14          Filed 01/03/25       Page 27 of 89
         I am in my car, and I definitly can give you the letter. I do not know the proceedure for the rest of it.



         I would have sent it you soon sooner, but I have been non-functioning for most of the time since the
         suspension. I do not think you would have filed the case at all if you had been given even the full-emails
         where the make coercive threats and supporting emails and texts. For example, the cease and desist was
         because I had been on FMLA leave time for less than 2 hours before the 6hour demand letter to work or
         else. I cant think of a reason to not give it to you because it was supposed to be our filing against multiple
         people at Ohana in our own TRO, preliminary injunction, and Peace Order along with other documents
         supporting what we are requesting.



         Please give me a moment to stop shaking and get to a computer



         On Tue, Jun 18, 2024, I :30 PM Brennen, Robert S. <RBRENNEN@milesstockbridge.com> wrote:

           Are you going to send me a copy of what you presented to the Court?



             Robert Brennen     PrinciP-al
             Miles & Stockbridg~
             direct: +1 (410) 385-3653




           From: Ryan Wag~Y-a □ @mxt3.com >
           Sent: Tuesday, June 18, 2024 1:26 PM
           To: Brennen, Robert 5.< RBRENNEN@MilesStockbridge.com~
           Subject: Re: [EXTERNAL] Notification of Service for Case: C-03-CV-24-002264, Ohana Growth Partners, LLC vs.
           Rv.an Dillon-CaRRS for filing Writ/Summons/Pleading - Electronic Service, EnveloRe Number: 16870699




           [EXTERNAL]




           ljust left the courthouse after P.roviding a letter to the clerk for the chambers judge. My la~er has a
           death in the family and is at a P.reschedules conference next week and we are looking for another
           attorney who can received to this urgency issue. The judge also received documentation showing the
           susP.ension was illegal and the TRO is asking me to something illegllL.



           Please allow time for the judge to review.




                                                           27 / 91
M&S All Emails Extracted                                Page '1!"1of91                                          Exhibit 164
              Case 1:24-cv-03744-BAH                Document 16-14            Filed 01/03/25          Page 28 of 89
           On Tue, Jun 18, 2024, I: 12 PM Brennen, Robert S. <RBRENNEN@milesstockbrjdge.com> wrote:

             As neither I nor Mr. Leadore have received the Rasswords as contemRlated below we will be moving forward
             with contemp.1.Rroceeding~



               Robert Brennen     PrinciQQ I
               Mi les & Stockbridg~
               direct: +1 (410) 385-3653




             From: Brenne n, Robert S.
             Sent: Tuesday, June 18, 2024 8 :39 AM
             To: Ryan Wagner <rv.an@mxt3.com >
             Cc: Frenkil , Steven D. <sfrenkil@MilesStockbridge.com~; Hoffb e rg~. Victoria (Tory)_
             <vhoffberger@milesstockbridge.com >
             Subject: FW: [EXTERNAL] Notifi cation of Service for Case: C-03-CV-24-002264, Ohana Growth Partners, LLC vs.
             B_yan Dill on-CaRRS for ti ling Writ/Summons/Pleading - Electronic Service, EnveloRe Number: 16870699
             lmP-ortance: Higb.




             Per the attached, a hearing on Ohana Growth Partners, LLC 's Motion for Preliminary..Jrij unction is set for next
             Wednesday, June 26, 2024 from 9 to 11 a.m .




             While Ohana is certain that you are abundantly familiar with the actions necessary to bring _you into
             comR liance with the TemRorary Restraining Order entered yesterday, here are the steRs that you should take:




                 I. Create an account in Ohana 's Microsoft 365 tenant,_pieadore@cllanagp.com. Add the account into the
                    Global Administrators grouR and send the Rassword to pleadore@hartmanadvisors.com via a secure
                    email. If you do not have access to send a secure email,_you should send the Rassword to me via text at
                    443 -956-6458.
                 2. Provide p!eadore@cllanag~ with owner level rights to all Azure subscriRtion Rlans.
                 3. Provide the root level administrator account password in GoDaddy to p!eadore@ hartmanadvisors.com
                    via a secure email. If you do not have access to send a secure email,_you should send the Rassword to me
                    via text at 443-956-6458. You should remove all multi-factor authentication aRp2 ,.Rhone numbers,
                    and/or email addresses associated with the root account.
                 4. Once accounts have been created in Ohana 's Microsoft 365 tenant and the root level Rassword wovided
                    for the GoDaddy account, refrain from accessing or making configuration changes to their Microsoft
                    365 and GoDaddy accounts.



             You should take all the above actions this morning so that you are in comRliance with the TemRorary_
             Restraining Order by.J.l..R.m . today.Jf.you fail to do so Ohana will have no choice but to file additional P...~mers
             with the Court seeking to have you held in contemRt of the Order and will ask that the Court take UR the issue
             of contemRt during the hearing on June 26 th .




                                                               28 / 91
M&S All Emails Extracted                                    Page# 28 of91                                                Exhibit 164
              Case 1:24-cv-03744-BAH               Document 16-14            Filed 01/03/25          Page 29 of 89
             As stated in my June 14, 2024 emai l, Ohana is OP-en to a negotiated resolution to the claims it has
             asserted in its ComP-laint and any claims that you believe you may have, but w ill not entertain an y
             discussions until you are in comP- li ance with the TemP-orary Restraining Order. If you bring _y ourself
             into comP-liance and are interested in discussing a resolution , it is P-Ossible that the matter could be
             resolved in advance of th e June 26 th hearing



             I look forward to receiving confirmation of your comP-liance.




               Robert Brennen I PrinciQa l
               Miles & Stockbridge
               direct: +1 (410) 385-3653




             From: no-reRly@efiljng[!l,_fil[.tylertech.doud < no-reply@efilingmajl.ty!ertech.doud>
             Sent: Monday, June 17, 2024 3:42 PM
             To: Brennen , Robert S. <RBRENNEN@MilesStockbrid~~
             Subject: [EXTERNAL] Notification of Service for Case: C-03-CV-24-002264, Ohana Growth Partners, LLC vs.
             B.v.an Dillon-CaP..J:~s for filing Writ/ Summons/ Pleading - Electronic Service, EnveloRe Number: 16870699




             [EXTERNAL]




                                                                                        Notification of
                                                                                               Service
                                                                                         Case Number: C-03-CV-24-002264
                                                                          Case Style : Ohana Growth Partners, LLC vs. Ryan
                                                                                                               Dillon-CaRRS
                                                                                              EnveloRe Number: 16870699

             This is a notification of service for the filing listed . Please click the link below to retrieve the
             submitted document.

                                                             Filing Details
              Case Number                      C-03-CV-24-002264
              Case Style                       Ohana Growth Partners, LLC vs. Ryan Dillon-CaRRS
              Date/Time Submitted              6/17/2024 3:41 PM EST

                                                             29 / 91
M&S All Emails Extracted                                  Page# 29 of91                                           Exhibit 164
              Case 1:24-cv-03744-BAH                         Document 16-14                  Filed 01/03/25               Page 30 of 89
              Filing TyP-e                              Writ/Summons/Pleading - Electronic Service
              Filing DescriP-tion                        Hearing Notice
              Filed By_                                  K S1
                                                        Ohana Growth Partners, LLC:

                                                         Robert Brennen (rbrennen@milesstockbridge.com)

              Service Contacts                           Steven Frenkil (sfrenkil@milesstockbridge.com)

                                                        Victoria Klein (Ylilltln@milesstockbridge.com)

                                                         Kim Edwards (kjedwards@milesstockbridge.com)




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M&S All Emails Extracted                                              Page # 30 of9 l                                                           Exhibit 164
                         Case 1:24-cv-03744-BAH                                                 Document 16-14                                  Filed 01/03/25                             Page 31 of 89

  Subject: 1942_001 .pdf
  From : "Brennen , Robert S." <RBRENNEN@MilesStockbridge.com>
  To: "ryan@mxt3.com" <ryan@mxt3.com>
  Date Sent: Monday, June 24, 2024 7:15:56 PM GMT-04:00
  Date Received : Monday, June 24, 2024 7:16:14 PM GMT-04 :00
  Attachments : 1942_001 .pdf

  And here again are the Court 's orders .
  I l ook forward to seeing you in Court Wednesday morning.


  Sent from my iPhonc



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M&S All Emails Extracted                                                                                      Page# 31 of91                                                                                                   Exhibit 164
                          Case 1:24-cv-03744-BAH                                                 Document 16-14                                   Filed 01/03/25                             Page 32 of 89

  Subject: FW: [EXTERNAL] Filing Submitted for Case: C-03-CV-24-002264 ; Ohana Growth Partners, LLC vs . Ryan Dillon-Capps; Envelope Number: 16968860
  From : "Brennen , Robert S." <RBRENNEN@MilesStockbridge.com>
  To: Ryan Wagner <ryan@mxt3.com>
  Cc : "Frenkil, Steven D." <sfrenkil@MilesStockbridge .com> , "Hoffberger, Victoria (Tory)" <vhoffberger@milesstockbridge.com>
  Date Sent: Tuesday, June 25 , 2024 11 :40:58 AM GMT-04 :00
  Date Received : Tuesday, June 25, 2024 11 :47 :47 AM GMT-04 :00
  Attachments : 2024-06-25 - Line re Filing Romes Affidavit.pd!

  The attached was just filed with the Court.




  From : no-reply@efilingmail.tylertech.cloud <no-reply@efili ngmail.tylertech.cloud>
  Sent: Tuesday, June 25, 2024 11:37 AM
  To: Brennen, Robert 5.<RBRENNEN@MilesStockbridge.com>
  Subject: [EXTERNAL] Filing Submitted for Case: C-03-CV-24-002264; Ohana Growth Partners, LLC vs. Ryan Dillon-Capps ; Envelope Number: 16968860



  [EXTERNAL]




                                                                                                                                                                                              Filing Submitted
                                                                                                                                                                                Envelope Number: 16968860
                                                                                                                                                                          Case Number: C-03-CV-24-002264
                                                                                                                                                Case Style: Ohana Growth Partners, LLC vs. Ryan Dillon-Capps



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                                                                                                                 Filing Details
   Court                                                                    3rd Circuit
   DatefTime Submitted                                                      6/25/2024 11 :33 AM EST
   Filing Type                                                              Line
                                                                            Line Regarding Affidavit of Randall J. Romes Filed in Support of Plaintiffs Pending Motion for Preliminary
   Filing Description
                                                                            Injunction and Petition for Constructive Civil Contempt
   Type of Filing                                                           EFileAndServe
   Filed By                                                                 Robert Brennen
   Filing Attorney                                                          Robert Brennen

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    Line                                      $0.00
    Affidavit                                                            $0.00
   Total:$0.00 (The envelope still has pending filings and the fees are subject to change)

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M&S All Emails Extracted                                                                                       Page # 32 of91                                                                                                  Exhibit 164
                         Case 1:24-cv-03744-BAH                                                 Document 16-14                                  Filed 01/03/25                             Page 33 of 89
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M&S All Emails Extracted                                                                                      Page# 33 of91                                                                                                  Exhibit 164
                          Case 1:24-cv-03744-BAH                                                  Document 16-14                                    Filed 01/03/25                              Page 34 of 89

  Subject: RE: Ohana Growth Partners, LLC v. Ryan Dillon-Capps - C-03-CV-24-2264
  From : "Brennen , Robert S." <RBRENNEN@MilesStockbridge.com>
  To: Lauren Prinkey <Lauren.Prinkey@mdcourts.gov>
  Cc: "Frenkil , Steven D." <sfrenkil@MilesStockbridge.com> , "ryan@mxt3.com" <ryan@mxt3 .com> , "Hoffberger, ~ctoria (Tory)" <vhoffberger@milesstockbridge.com>
  Date Sent: Tuesday, June 25, 2024 11 :43:17 AM GMT-04:00
  Date Received : Tuesday, June 25, 2024 11 :43:35 AM GMT-04:00
  Attachments : 2024-06-25 - Line re Filing Romes Affidavit.pd!

   Dear Ms. Prinkey,

  The Plaintiff in the above-reference matter just filed the attached with the Clerk via MDEC .

   Respectfully,




   From: Lauren Prinkey <Lauren.Prinkey @mdcourts.gov>
   Sent: Friday, June 21, 2024 12:04 PM
   To: Brennen, Robert 5.< RBRENNEN @MilesStockbridge.com>; Frenkil, Steven D.<sfrenkil @M ilesStockbridge.com>; ryan @mxt3.com
   Subject: [EXTERNAL) Ohana Growth Partners, LLC v. Ryan Dillon-Capps - C-03-CV-24-2264



   [EXTERNAL)
  -Good
    ----------------------------------
        afternoon,

   Please see the attached orders from the court.

   Thank you,
   Lauren

   Lauren Prinkey
   Judicial Assi stant to the Honorable Keith R. Truffer
   C ircuit Coun for Baltimore County
   40 I Bosley Avenue
   Towson, MD 2 1204
   410-887-6515 (Oftice)
   410-296-1810 (Fax)




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                    Case 1:24-cv-03744-BAH                             Document 16-14                     Filed 01/03/25                 Page 35 of 89

   Subject: RE: [EXTERNAL] Filing Submitted for Case: C-03-CV-24-002264; Ohana Growth Partners. LLC vs. Ryan Dillon-Capps; Envelope Number: 16968860
   From : "Brennen , Robert S." <RBRENNEN@MilesStockbridge.com>
   To: Ryan Wagner <ryan@mxt3.com>
   Cc: "Frenkil, Steven D." <sfrenkil@MilesStockbridge.com> , "Hoffberger, Victoria {Tory)" <vhoffberg er@m ilesstockbridge.com>
   Date Sent: Tuesday, June 25, 2024 11 :54:29 AM GMT-04:00
   Date Received : Tuesday, June 25, 2024 11 :55:21 AM GMT-04:00
   Attachments : 2024-06-25 - Line re Filing Romes Affidavit.pd!

   The attached version includes Mr. Romes signed affidavit




   From: Brennen, Robert S.
   Sent: Tuesday, June 25, 2024 11:41 AM
   To: Ryan Wagner <ryan@mxt3.com >
   Cc: Frenkil, Steven D.<sfrenkil@MilesStockbridge.com> ; Hoffberger, Victoria (Tory) <vhoffberger@mi lesstockbridge.com>
   Subject: FW: [EXTERNAL] Filing Submitted for Case: C-03-CV-24-002264; Ohana Growth Partners, LLC vs. Ryan Dillon-Capps; Envelope Number: 16968860

   The attached was just filed with the Court.




   From : =Riy_@.efilli:Jg[!WLtvlertech doud <=Riy.@eliliog!Iliil.J.Y.[ertech c[oud>
   Sent: Tuesday, June 25, 2024 11:37 AM
   To: Brennen, Roberts. <RBRENNEN@.MilesStockbridge.com>
   Subject: [EXTERNAL] Filing Submitted for Case: C-03-CV-24-002264; Ohana Growth Partners, LLC vs. Ryan Dillon-Capps; Envelope Number: 16968860



   [EXTERNAL)




                                                                                                                                         Filing Submitted
                                                                                                                                        Envelope Number: 16968860
                                                                                                                                  Case Number: C-03-CV-24-002264
                                                                                                        Case Style: Ohana Growth Partners , LLC vs . Ryan Dillon-Capps



   The filing below has been submitted to the clerk's office for review. Please allow 24 - 48 hours for clerk office processing .

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   Court                                                3rd Circuit
   DatefTime Submitted                                  6/25/2024 11 :33 AM EST
   Filing Type                                          Line
                                                        Line Regarding Affidavit of Randall J. Romes Filed in Support of Plaintiffs Pending Motion for Preliminary
   Filing Description
                                                        Injunction and Petition for Constructive Civil Contempt
   Type of Filing                                       EFileAndServe
   Filed By                                             Robert Brennen
   Filing Attorney                                      Robert Brennen

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    Line                                      $0.00
    Affidavit                                 $0.00
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M&S All Emails Extracted                                                        Page# 35 of91                                                             Exhibit 164
                          Case 1:24-cv-03744-BAH                                                   Document 16-14                                   Filed 01/03/25                              Page 36 of 89
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M&S All Emails Extracted                                                                                        Page-# 36 of91                                                                                                     Exhibit 164
                          Case 1:24-cv-03744-BAH                                                 Document 16-14                                  Filed 01/03/25                             Page 37 of 89

   Subject: RE: Ohana Growth Partners, LLC v. Ryan Dillon-Capps - C-03-CV-24- 2264
   From : "Brennen , Robert S." <RBRENNEN@MilesStockbridge.com>
   To: Lauren Prinkey <Lauren .Prinkey@mdcourts.gov>
   Cc : "Frenkil , Steven D." <sfrenkil@MilesStockbridge .com>, "ryan@mxt3.com" <ryan@mxt3 .com> , "Hoffberger, Victoria (Tory)" <vhoffberger@milesstockbridge.com>
   Date Sent: Tuesday, June 25 , 2024 11 :56:40 AM GMT-04:00
   Date Received : Tuesday, June 25, 2024 11 :56 :58 AM GMT-04:00
   Attachments: 2024-06-25 - Line re Filing Romes Affidavit.pd!

   Dear Ms. Prinkey,

   For some reason , when we created the combined pdf I sent you a moment ago Mr. Romes e-signature was removed from his affidavit.
   Attached are the documents as filed with the signed affidavit.

   Respectfully,




   From: Brennen, Robert S.
   Sent: Tu esday, June 25, 2024 11:43 AM
   To: Lauren Prinkey <Lauren.Prinkey@mdcourts.gov>
   Cc: Frenkil , Steven 0.<sfrenkil@MilesStockbridge.com> ; ryan @mxt3.com; Hoffberger, Victoria (Tory) <vhoffberger@milesstockbridge.com >
   Subject: RE: Ohana Growth Partners, LLC v. Ryan Dillon-Capps - C-03-CV-24-2264
   Importance: High

   Dear Ms. Prinkey,

   The Plaintiff in the above-reference matter just filed the attached with the Clerk via MDEC .

   Respectfully,




   From: Lauren Prinkey< Lauren.Prinkey@mdcourts acre
   Sent: Friday, June 21, 2024 12:04 PM
   To: Bren nen , Roberts. <RBRENNEN@Mi1esstockbrjd2em>; Frenkil, Steven D. <sfrenkjl@Milesstockbrjdg~>; rv.an@mxt3 com
   Subject: [EXTERNAL] Ohana Growth Partners, LLC v. Ryan Dillon-Capps - C-03-CV-24-2264



   [EXTERNAL)

   Good afternoon,

   Please see the attached orders from the cou rt.

   Thank you ,
   Lau ren


   Lauren Prinkey
   Judicial Assistant to the Honorable Keith R. Truffer
   Circuit Court for Baltimore County
   40 I Bosley Avenue
   Towson, MD 21204
   410-887-6515 (Office)
   4 10-296-18 10 (Fax)




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   This e-mail , indudmg any attachment(s), Is intended for receipt and use by the intended addressee(s), and may contain conf1dent1al and pnv1leged mformat10n. If you are not an intended recipient of this e-mail, you are hereby not1f1ed that
   any unauthori21!!:d use or dlstnbution of this e-mail ts str ictly proh1b1ted, and requested to delete this communication and its attachment(s) without making any copies thereof and to contact the sender of this e-mail immediately. Nothing
   contain ed in the body and/or header of this e-mail ,s intended as a Signature or intended to bind the add resser or any person represented by the addressor to the terms of any agreement that may be the subJed of this e-mail or its
   attachment(s), e)(cept where such intent 1s e)(pressly indicated.

   Any fe deral ta)( advice provided 1n this communication is not intended or written by the author to be used, and cannot be used by the recipient, for the purpose of avoiding penalties which may be imposed on the rec1p1en t by the IRS. Please
   contact the author lf you would like to receive written advice in a format which complies with I RS rules and may be rel ied upon to avoid penalties.


   ~□ load/Down l oad Oles dick here




                                                                                                                     37 / 91
M&S All Emails Extracted                                                                                      Page # 37 of 9)                                                                                                 Exhibit 164
                   Case 1:24-cv-03744-BAH                               Document 16-14                       Filed 01/03/25                   Page 38 of 89

  Subject: RE : [EXTERNAL) RE : Ohana Growth Partners , LLC v. Ryan Dillon-Capps - C-03-CV-24-2264
  From : "Brennen , Robert S." <RBRENNEN@MilesStockbrid ge.com>
  To: Lauren Prinkey <Lauren.Prinkey@mdcourts.gov>
  Cc : "Frenkil , Steven D." <sfrenkil@MilesStockbridge.com>, "ryan@mxt3.com" <ryan@mxt3.com>, "Hoffberger, Victoria (Tory)" <vhoffberger@milesstockbridge.com>
  Date Sent: Tuesday, June 25, 2024 12:04 :01 PM GMT-04:00
  Date Received : Tuesday, June 25, 2024 12:04:18 PM GMT-04:00

  Dear Ms. Prinkey,

  Than k you for that clarification .

  Respectfully,




  From : Lauren Prinkey <Lauren.Prinkey@mdcourts.gov>
  Sent: Tuesday, June 25, 2024 12:02 PM
  To: Brennen, Robert S.<RBRENNEN@Mi lesStockbridge.com>
  Cc: Frenkil , Steven D.<sfrenkil@M ilesStockbridge.com> ; ryan@mxt3.com; Hoffberger, Victoria (Tory) <vhoffberger @milesstockbridge.com>
  Subject: RE: (EXTERN AL] RE: Ohana Growth Partners, LLC v. Ryan Dillon-Capps - C-03-CV-24-2264



  [EXTERNAL]

  Good afternoon ,

  Judge Truffer addressed this matter during Chambers duties. As long as everything is tiled in MDEC, you do not have t o send a courtesy copy to me . I am not sure w ho this will be
  assigned to.

  Thank you,
  Lauren


   Lauren Prinkey
  Judicial Assistant to the Honorable Keith R. Truffer
  Circuit Court for Baltimore County
  40 1 Bosley Avenue
  Towson, MD 2 1204
  4 10-887-6515 (Office)
  410-296- 1810 (Fax)

  From : Brennen, Robert 5.< RBRENNEN@MilesStockbridge.com>
  Sent: Tuesday, June 25, 2024 11:57 AM
  To: Lauren Prinkey < Lauren.Prinkev@mdcourts .gQY>
  Cc: Frenkil, Steven D. <sfrenkil@Mi(esStockbrid~=>; ryan@mxl3 com· Hoffberger, Vi ctori a (Tory) <~rger@milesstockbrid~=>
  Subject: [EXTERNAL] RE: Ohana Growth Partners, LLC v. Ryan Dillon-Capps - C-03-CV-24-2 264

  Dear Ms. Prinkey,

  For some reason , when we created the combined pdf I sent you a moment ag o Mr. Romes e-signature was removed from his affidavit.
  Attached are the documents as filed with the signed affidavit.

  Respectfu lly,




  From : Brennen, Robert 5.
  Sent: Tuesday, June 25, 2024 11:43 AM
  To: Lauren Prinkey <Lauren Prinkev@mdcourts goy>
  Cc: Frenkil , Steven D. <sfrenkil@MilesStockbrid~=>; ryan@mxt3 com; Hoffberger, Victoria (Tory) <~rger@milesstockbridg=>
  Subject: RE : Ohana Growth Partners, LLC v. Ryan Dillon-Capps - C-03-CV-24-2264
  Importance: High

   Dear Ms. Prinkey,

   The Pla intiff in the above-referen ce matter just filed the attached with the Clerk via MDEC .

   Respectfully,




   From: Lauren Prinkey< Lauren prjnkev@mdcoyrts.goy>
   Sent: Friday, June 21, 2024 12:04 PM
   To: Brennen, Rob erts. <RBRENNEN@MilesStockbridg=>; Frenkil. Steven D. <sfrenkil@MilesStockbrid~e,_i;om>; cvan@mxt3.com
   Subject: [E XTERNAL] Ohana Growth Partners, LLC v. Ryan Dillon-Capps - C-03-CV-24-2264



   [EXTERNAL]

                                                                                        38 / 91
M&S All Emails Extracted                                                             Page# 38 of9l                                                                         Exhibit 164
                      Case 1:24-cv-03744-BAH                              Document 16-14                       Filed 01/03/25                   Page 39 of 89

  Subject: RE: [EXTERNAL] RE: C-03-CV-24-2264, Ohana Growth Partners, LLC v. Ryan (Wagner) Dillon-Capps
  From : "Brennen, Robert S." <RBRENNEN@MilesStockbri dge .com>
  To: Rachel Kiefer <rachel.kiefer@mdcourts.gov>
  Cc : "ryan@mxt3.com" <ryan@mxt3.com> , "Hoffberger, Victoria (Tory)" <vhoffberger@milesstockbridge.com>
  Date Sent: Wednesday, June 26, 2024 3:02:17 PM GMT-04:00
  Date Received : Wednesday, June 26, 2024 3:02:37 PM GMT-04 :00

  Dear Ms. Kiefer,

  I am unable to open the file that was attached to your message.
  Can you resend the document?

  Respectfully,




  From: Rachel Kiefer <rachel.kiefer@mdcourts.gov>
  Sent: Wednesday, June 26, 2024 2:56 PM
  To: Brennen, Robert 5.< RBRENNEN @MilesStockbridge.com>
  Cc: ryan @mxt3.com ; Hoffberger, Victoria (Tory) <vhoffberger@mi lesstockbridge.com>
  Subject: RE: [EXTERNAL] RE: C-03-CV-24-2264, Ohana Growth Partners, LLC v. Ryan (Wagner) Dillon-Ca pps



  [EXTERNAL)

  Good afternoon,

  Please see attached a courtesy copy of the Order which has been forwarded to the Clerk for entry on the docket.

  Re spectfully,

                           Rachel Kiefer
                           Law Clerk to the Honorable Michae l S. Barranco
                           Circuit Court for Baltimore County
                           40 I Bosley Avenue
                           Towson, MD 21204
                           410-887-2500 (Office)
                           410-296-1 324 (Fax)
                           racbel kiefl:c@mdcourts goy



  From: Brennen , Robert 5.< RBRENNEN@Mi)esStockbridge.com>
  Sent: Wednesday, June 26, 2024 1: 19 PM
  To: Rachel Kiefer < rache).kiefer@mdcourts.gqy>
  Cc: rvan@mxt3 com- Hoffberger, Victoria (Tory) <':lboffl2erger@milesstockbrjd~~>
  Subject: [EXTERNAL] RE: C-03-CV-24-2264, Ohana Growth Partners, LLC v. Ryan (Wagner) Dillon-Capps
  Importance: High

   Dear Mr. Kiefer,

   Attached is the draft Order Granting Preliminary Injunction based upon our understanding of this morning 's proceedings.

   Respectfully,




   From: Rachel Kiefer < rache).kiefer@mdcourts.&QY>
   Sent: Wednesday, June 26, 2024 10:50 AM
   To: Brennen, Robert S. <RBRENNEN@MilesStockbridge,&Q!]J> ; Hoffberger, Victoria (Tory) <~rger@milesstockbridge.&Q!]l>
   Cc: rvan@mxt3 com
   Subject: [EXTERNAL] C-03-CV-24-2264, Ohana Growth Partners, LLC v. Ryan (Wagner) Dillon-Capps



   [EXTERNAL)

   Good morning,

   When the proposed preliminary injunction is ready for Judge 's review, please send a word version to chambers. You may also simultaneously tile via MDEC, but it is not necessary
   because we will tile the signed order. I will distribute the Order once Judge has signed it.

   Respectfully,

                           Rachel h:iefe1·
                           Law Clerk to the Honorable Michael S. Barranco
                           Ci rcuit Court for Baltim ore County
                           40 I Bosley Avenue
                           Towson , MD 2 1204


                                                                                          41 / 91
M&S All Emails Extracted                                                            Page# 41 of91                                                                         Exhibit 164
                         Case 1:24-cv-03744-BAH                                                Document 16-14                                  Filed 01/03/25                             Page 40 of 89
    ..                           4 10- 887-2500 (Office)
                                 410-296-1 324 (Fax)
                                  racheLkiefer@mdcourts.gQY




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  Pl ease contact the author If you wou ld like to receive written advice in a format which complies with IRS ru les and may be relied upon to avoid pena lties.



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M&S All Emails Extracted                                                                                     Pa e 42 of91                                                                                                   Exhibit 164
                          Case 1:24-cv-03744-BAH                                                 Document 16-14                                  Filed 01/03/25                             Page 41 of 89

  Subject: RE : June 27 , 2024 Contempt Hearing Notice - Ohana Growth Partners, LLC v. Ryan Dillon-Capps, C-03-CV-24-2264
  From : "Brennen , Robert S." <RBRENNEN@MilesStockbridge.com>
  To: Fallyn Allman <Fallyn .Allman@mdcourts.gov>
  Cc: Rachel Kiefer <rachel. kiefer@mdcourts.gov> , "ryan@mxt3.com" <ryan@mxt3.com> , "randy.romes@cJaconnect.com" <Randy.Romes@cJaconnect.com>
  Date Sent: Wednesday, June 26, 2024 4:14:03 PM GMT-04:00
  Date Received : Wednesday, June 26 , 2024 4:14:19 PM GMT-04:00

   Dear Ms. Allman ,

   Please send the Zoom invitation to Mr. Romes at ran.dy~s@ciaconnect com
   I will be appearing in person in Courtroom 8.

   Respectfu lly,




  From: Fallyn All man <Fallyn.Allman@mdcourts.gov>
  Sent: Wednesday, Ju ne 26, 2024 11: 16 AM
  To: Brennen, Robert S.<RBRENNEN@MilesStockbridge.com>; ryan@mxt3.com
  Cc: Rachel Kiefer <rachel.kiefer@mdcourts.gov>
  Subj ect: [EXTERNAL] June 27, 2024 Contempt Hearing Notice - Ohana Growth Partners, LLC v. Ryan Dil lon-Capps, C-03-CV-24-2264



   [EXTERNAL)

   Dear All :


   Attached please find a copy of t he hearing notice in t he above captioned matter. This is schedu led tor a Contempt Hearing tomorrow, June 2ih , 2024 at 1:00 p.m. before Judge
   Barranco in Courtroom 8. Please let us know who, if any, parties are requesting to attend this hearing remotely so our chambers can send out the zoom invitation for this hearing.

   This email is for schedu ling purposes only.

  Thank you,



                                   Fallyn L. Allman ,
                                   Judicia l Assistant to the Honorable Michael S. Barranco
                                   Circuit Court for Baltimore County
                                   401 Bosley Avenue , Room 367
                                   Towson , MD 21204
                                   410-887-2500 (Office)
                                   Fa llyn.All man @mdcourts.gQY




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   any unauthorized use or d1stribut1on of this e-mail 1s strictly prohibited, and reQuested to delete this communicat1on and its attachment(s) without making any copies thereof and to contact the sender of this e-mail 1mmed1ately. Nothing
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   attachment(s), except where such intent is expressly indicated.

   Any federal tax advice provided in this commumcat1on 1s not intended or written by the author to be u~d, and cannot be used by the rec1p1ent, for the purpose of avoiding penalties which may be Imposed on the rec1p1ent by the IRS. Please
   contact the author ff you would like to receivf!: written advlcll!' In a format which complies with IRS rules and may be rel!ed upon to avoid penalties.


   ~oioad/Dowoload files click here




                                                                                                                 43 / 91
M&S All Emails Extracted                                                                                      Page# 43 of91                                                                                                   Exhibit 164
                    Case 1:24-cv-03744-BAH                                Document 16-14                    Filed 01/03/25                 Page 42 of 89

  Subject: RE: [E XTERNAL) RE: June 27 , 2024 Contempt Hearing Notice - Ohana Growth Partners , LLC v. Ryan Dillon-Capps, C-03-CV-24-2264
  From : "Brennen, Robert S." <RBRENNEN@MilesStockbridge.com>
  To: Fallyn Allman <Fallyn .Allman@mdcourts.gov> ,Rachel Kiefer <rachel.kiefer@mdcourts.gov>
  Cc : "ryan@mxt3.com" <ryan@mxt3.com>, "randy.romes@ciaconnect.com" <Randy.Romes@ciaconnect.com>, "Edwards, Kimale J." <kjedwards@MilesStockbridge.com>
  Date Sent: Thursday, June 27 , 202410:13:18AM GMT-04:00
  Date Received : Thursday, June 27, 202410:14:06AM GMT-04:00
  Attachments : 2024-06-27 Proposed Order for Contempt.docx

   Good morning.

  Barring any change with regard to Defendant's com pliance with the TRO and Prel iminary Injunction between now and this afternoon 's hearing set for 1 p.m. , Plaintiff
  intends to request that the Court enter the attached Order.
  A copy of Plainti ff's proposed Order will be filed with the Clerk via M0EC.

   Respectfully,




   From: Fallyn Allman <Fa llyn.Allman @mdcourts.gov>
   Sent: Wednesday, June 26, 2024 4:22 PM
   To: Brennen, Robert 5. <RBRENNEN@MilesStockbridge.com >
   Cc: Rachel Kiefer <rachel.kiefer @mdcourts.gov>; ryan@mxt3.com; randy.romes @claconnect.com
   Subject: RE: [EXTERN AL] RE: June 27, 2024 Contempt Hearing Notice - Ohana Growth Partners, LLC v. Ryan Dillon-Capps, C-03-CV-24-2264


   [EXT.ERNAL)

   Mr. Brennen :

   The Zoom invitation for tomorrow's hearing has been sent to Mr. Romes and can also be found below:

   Judge Michael Barranco is invi ti ng you lo a schedul ed ZoomGov meeting.

   Join ZoomGov Meeting
   hnps •Umdcourts zoomgQY..COlll/j/ I6 I4289867?pwd; RHhCl nJJTZWlj~y MEtadIJ0azbl .ZZ09

   Meeting ID 161 428 986 7
   Passcode: 98079975



   One tap mobile
   + 16692545252,, 1614289867# US (San Jose)
   + 1646964 11 67 ,, 1614289867# US (US Spanish Line)



   Dial by your location
   • + I 669 254 5252 US (San Jose)
   • + l 646 964 1167 US (US Spanish Line)
   • + 1 646 828 7666 US (New York)
   • + l 669 216 1590 US (San Jose)
   • + 1 4 15 449 4000 US (US Spanish Line)
   • + 1 551 285 1373 US (New Jersey)
   • 833 568 8864 US Toll- free

   Meeting ID 1614289867

   Find your local number: bttps-//mdcourts zoomgov com/u/a09uSViBK



   Join by SIP
   • 1614289867~p.zoQJ]JgQY.J;Q]]l



   Join by H.323
   • 161 199 [38 10 (US West)
   • 161199 136 l0 (US East)

   Meeting ID 16 1 428 9867
   Passcode: 98079975



                          Fallyn L. Allman ,
                          Judicial Assistant to the Honorable M ichael S. Barranco
                          Circu it Cou rt for Baltimore County
                          401 Bosley Avenu e, Room 367
                          Towson, MD 21204
                          41D-887·2500 (Office)


                                                                                        44 / 91
M&S All Emails Extracted                                                             Page # 44 of9 l                                                          Exhibit 164
                         Case 1:24-cv-03744-BAH                                               Document 16-14                                 Filed 01/03/25                            Page 43 of 89
                                  Fallv.n.All man @mdcourts.gQY_




  From : Brennen , Roberts. <RBRENNEN@MilesStockbrid2e.&2lll>
  Sent: Wednesday, June 26, 2024 4: 14 PM
  To: Fa llyn All man <Wvn Allman@mdcourts.gm:>
  Cc: Rachel Kiefer < rachel.kiefer@mdcourts.gQY>; rv.an@mxt3.com; randv..romes@claconnect.com
  Subject: [EXTERNAL) RE: June 27, 2024 Contempt Hearing Notice - Ohana Growth Partners, LLC v. Ryan Dillon-Capps, C-03-CV-24-2264

   Dear Ms. All man ,

   Please send the Zoom invitation to Mr. Romes at rangv. romes@ciaconnect com
   I will be appearing in person in Courtroom 8.

   Respectfu lly,




   From : Fallyn Allman <Wvn.Allman@mdcoyrts gQll>
   Sent: Wednesday, June 26, 2024 11:16 AM
   To: Brennen , Roberts. <RBRENNEN@MilesStockbrid~e=>: rvan@mxt3 com
   Cc: Rachel Kiefer< rachel.kiefer@mdcourts.&QY>
   Subject: [EXTERNAL) June 27, 2024 Contempt Hearing Notice - Ohana Growth Partners, LLC v. Ryan Di llon-Capps, C-03-CV-24-2264



   [EXTERNAL)

   Dear All :


   Atta che d please find a copy of the hearing notice in the above captioned matter. This is scheduled for a Contempt Hearing tomorrow, June 27 th , 2024 at 1:00 p.m. before Judge
   Barranco in Courtroom 8. Please let us know who, if any, parties are requesting to attend this hearing remotely so our chambers can send out the zoom invitation for this hearing.

   This email is for schedu ling purposes only.

   Thank you,



                                  Fallyn L. Allman,
                                  Judicial Assistant to the Honorable Michael S. Barranco
                                  Circuit Court for Ba ltimore County
                                  401 Bosley Avenue , Room 367
                                  Towson , MD 21204
                                  410-887-2500 (Office)
                                  Fa llv.n.All man@mdcourts.gov




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   This e-mai l, including any attachment(s), is Intended for receipt and use by the intended addressee(s), and may contain confidential and privileged information. H you arl! not an Intended recipient of this e-mail, you are hereby
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   lmmedlately. Nothing contained In the body and/or header of this e-mail Is intended as a signature or inten ded to bind the addresser or any person represented by the addresser to the terms of any agreement that may be the
   subject of this e-mail or its attachment(s), except where such Intent Is expressly Indicated .

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   Please contact the author if you would like to receive written advice in a format which complies with IRS rules and may be relied upon to avoid penalties.



   ~P.!Oad/Down!oad rues click here




                                                                                                                  45 / 91
M&S All Emails Extracted                                                                                   Page# 45 of91                                                                                                Exhibit 164
                          Case 1:24-cv-03744-BAH                                                Document 16-14                                  Filed 01/03/25                             Page 44 of 89

  Subject: RE: [EXTERNAL) REdwards, Kimale J. <kjedwards@MilesStockbridge.com>equest for Copy of Transcript
  From : "Brennen, Robert S." <RBRENNEN@MilesStockbridge.com>
  To: "ryan@mxt3.com" <ryan@mxt3.com>
  Cc : "Edwards, Kimale J." <kjedwards@MilesStockbridge.com>
  Date Sent: Monday, July 1, 2024 8:27 :11 AM GMT-04 :00
  Date Received : Monday, July 1, 2024 8:28:22 AM GMT-04 :00
  Attachments : 2024-06-27 Contempt Hearing Transcript Full PAge.pdf,2024-06-27 Contempt Hearing Transcript Mini Page.pdf

  As you requested .




  From: Ryan Wagner <ryan @mxt3.com>
  Sent: Friday, June 28, 2024 4:17 PM
  To: Brennen, Robert S.<RBRENNEN@MilesStockbridge.com>; Edwards, Kimale J. <kjedwards@MilesStockbridge.com>
  Subject: [EXTERNAL) Request for Copy of Transcript



   [EXTERNAL)

  .@.6renneil, Robert S . @ ~. Kjmale J My wife said you asked for a transcript during court yesterday. Do you have a transcript of any of the last two
  hearings? Could you email them to me?

  -RDC


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  This e-mail, 1ndud1ng any attachment(s), 1s 1nt1mded for receipt and use by the intended addressee(s), and may conta,n conr1dent1al and pnvrheged information. If you are not an intended recipient of this e-mad, you are hereby not1f1ed that
  any unauthorized use or d1stnbut1on of this e-mall 1s strictly proh1b1ted, and reQuested to delete this communicat1on and its attachment(S) without making anv copies thereof and to contact the sender of this e-ma,I 1mmed1ately. Nothing
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  attachment(s), e:.:cept where such intent is ell:pressly 1nd1cated.

   Any federal tax advice provided in this commun1cat1on 1s not intended or wntten by the author to be used, and cannot be used by the recipi ent, tor the purpose of avo1d1ng penalt1ec; which may be imposed on the recipient by the IRS. Please
   contact the author if you would hke to receive written advice 1n a formo,t which complies with IRS rules and may be rel ied upon to av01d penalties.


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                                                                                                                    46 / 91
M&S All Emails Extracted                                                                                     Page# 46 of91                                                                                                  Exhibit 164
              Case 1:24-cv-03744-BAH                    Document 16-14     Filed 01/03/25   Page 45 of 89

   Subject: Re: [EXTERNAL] REdwards, Kimale J. <kjedwards@MilesStockbridge.com>equest for Copy ofTranscript
   From : "Brennen, Robert S." <RBRENNEN@MilesStockbridge.com>
   To: "ryan@mxt3 .com" <ryan@mxt3.com>
   Cc: "Edwards, Kimale J." <kjedwards@MilesStockbridge.com>
   Date Sent: Tuesday, July 2, 2024 4:56:43 PM GMT-04:00
   Date Received: Tuesday, July 2, 2024 4:56:54 PM GMT-04:00

   The filings also show that you now owe Ohana $12,500 in fines. Have you paid any of that?

   I think I can get authority to provide the transcript that Ohana paid for if you provide me the password for
   administrative control of Ohana's Go Daddy account, which Ohana also paid for.

   Sent from my iPhone


    On Jul 2, 2024, at 16: 18, Ryan Wagner <ryan @mxt3 .com> wrote:



    [EXTERNAL]


    Thank you for the 27th. I show in the filings that there is one for the 26th. Do you have the one from the
    26th?

    On Mon , Jul I , 2024 at 8:27 AM Brennen , Robert S. <RBRENNEN@ milesstockbridge.com> wrote :

      As you requested.



      <image00 J.p_ng~     Robert Brennen I p inc/pat
                           Miles & Stockbridge
                           direct: +1 (410) 385-3653




      From: Ryan Wagner <rv.an@mxt3.com >
      Sent: Friday, June 28, 2024 4:17 PM
      To: Brennen, Robert S.<RBRENNEN@MilesStockbridge.com>; Edwards, Kimale J.
      <kjedwards@MilesStockbridge.com >
      Subject: [EXTERNAL] Request for Copy of Transcript




      [EXTERNAL]


      @ Brennen, Robert S. @ Edwards, Kimale J. My wife said you asked for a transcript during court
      yesterday. Do you have a transcript of any of the last two hearings? Could you email them to me?



      -RDC
                                                               47 / 91
M&S All Emails Extracted                                    Pag~ #47of l                                    Exhibit 164
                 Case 1:24-cv-03744-BAH                          Document 16-14                    Filed 01/03/25               Page 46 of 89




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M&S All Emails Extracted                                                  Page# 48 of91                                                                Exhibit 164
                          Case 1:24-cv-03744-BAH                                                Document 16-14                                   Filed 01/03/25                             Page 47 of 89

   Subj ect : Litigation Hold
   From : "Brennen, Robert S." <RBRENNEN@MilesStockbridge.com>
   To: Ryan Wagner <ryan@mxt3.com>
   Date Sen t: Wednesday, July 3, 2024 2:58:30 PM GMT-04:00
   Date Received : Wednesday, July 3, 2024 2:59:22 PM GMT-04 :00
   Attachments : 2024-07-03 Lit Hold U r to Dillon-Capps.pd!

   Please see the attached correspondence.


   Robert Brennen
   Pnnc1pol

   100 light Street Baltimore, MO 21202
   0: tl 41 0. 385.3653 O: +1410.727.6464   f: +1 4 10. 698.1 352

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M&S All Emails Extracted                                                                                      Page # 49 of91                                                                                                 Exhibit 164
                         Case 1:24-cv-03744-BAH                                                 Document 16-14                                   Filed 01/03/25                             Page 48 of 89

  Subject: Ohana Growth Partners, LLC v. Ryan Dillon-Capps, Case No. C-03-CV-24-002264; 2nd Motion for Contempt Seeking Incarceration
  From : "Brennen, Robert S." <RBRENNEN@MilesStockbridge.com>
  To: Ryan Wagner <ryan@mxt3.com>
  Cc : "Hoffberger, Victoria (Tory)" <vhoffberger@milesstockbridge .com> , "Frenkil, Steven D." <sfrenkil@MilesStockbridge.com >
  Date Sent: Wednesday, July 3, 2024 3:22 :38 PM GMT-04 :00
  Date Rec eived : Wednesday, July 3, 2024 3:23:45 PM GMT-04:00
  Attachments : 2024-07-03 Petition to Show Cause and for Contempt (lncarceration) .pdf,EX 1 - 2024-07-03_Affidavit_of_Daniel_Levett_w_Exh_A.pdf,2024-07-03 Show Cause Order re
  Incarceration for Contempt.pdf,2024-07-03 Filing Envelope Receipt.pd!

   Please see the attached, which was tiled thi s afternoon .

  Robert Brennen
  Prtttc.ipc>/

  100 Light Street Baltimore. MD 2 1202
  D: +1410.385.3653 O: +1 410.727.6464     F: +1410.698.1352


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M&S All Emails Extracted                                                                                     Page# 50 of91                                                                                                    Exhibit 164
                         Case 1:24-cv-03744-BAH                                                Document 16-14                                  Filed 01/03/25                            Page 49 of 89

  Subject: RE: Ohana Growth Partners. LLC v. Ryan Dillon-Capps, C-03-CV-24-2264; 2nd Motion for Contempt (seeking incarceration)
  From : "Brennen, Robert S." <RBRENNEN@MilesStockbridge.com>
  To: Fallyn Allman <Fallyn .Allman@mdcourts.gov> ,Rachel Kiefer <rachel.kiefer@mdcourts.gov>
  Cc : "ryan@mxt3.com " <ryan@mxt3 .com>, "Hoffberger, Victoria (Tory)" <vhoffberger@milesstockbridge.com >, "Frenkil, Steven D." <sfrenkil@MilesStockbridge.com>
  Date Sen t: Wednesday, July 3, 2024 3:28:14 PM GMT-04 :00
  Date Received : Wednesday, July 3, 2024 3:28:53 PM GMT-04:00
  Attachments : 2024-07-03 Filing Envelope Receipt.pdf,2024-07-03 Petition to Show Cause and for Contempt (lncarceration).pdf,EX 1 - 2024-07-
  03_Affidavit_of_Daniel_Levett_w_Exh_A.pdf,2024-07-03 Show Cause Order re Incarceration for Contempt.pd!

  Dear Ms. Allman and Ms. Kiefer,

  We do not whether Judge Barranco will be presiding over further proceed ings in this matter relative to his Order granting the Plaintiff's Motion for Preliminary Injunction
  and his Order finding Defendant Dillon-Capps in contempt, but just in case are transmitting courtesy copies of the attached documents wh ich were filed by Pla intiff this
  afternoon .

  Respectfully,




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M&S All Emails Extracted                                                                                    Page # 51 of91                                                                                                Exhibit 164
                          Case 1:24-cv-03744-BAH                                                  Document 16-14                                   Filed 01/03/25                             Page 50 of 89

   Subject: Ohana Growth Partners, LLC v Ryan Dillon-Capps; Possible path to ending contempt
   From : "Brennen , Robert S." <RBRENNEN@MilesStockbridge.com>
   To: Ryan Wagner <ryan@mxt3.com>
   Date Sent: Monday, July 8, 2024 7:22:49 AM GMT-04:00
   Date Received : Monday, July 8, 2024 7:23:02 AM GMT-04:00

   Good morning.

   As of2 p.m. yesterday you have accrued $25 ,000 in fi nes as a resul t of your continuing contempt of the Court 's June 27 th Preliminary Injunction.

   Ohana bel ieves that it may be able to achieve the establi shment of Global Admin rights i n its Microso ft 365 Tenant and administrative rights in its GoDaddy account if
   you provided photographs (1) of you holdi ng your Mary land drivers l icense next to your face ; (2) the front of your driver 's license; and (3) the back of your driver 's
   license . I f you provide the photographs and Ohana is successful in regaining administrative rights over its accounts Ohana will consider you contempt as ended and will
   advise the Court. I f you refuse Ohana will present that fact to the Court at your upcoming second contempt hearing as evidence of your continued bad faith and w illful
   violation of the Court 's orders .

   Robert Brennen
   Pnnc,pal
   100 Light Street B~ltimore. MD 21202
   D: +1 4 10.385.3653 0: +14 10.727.6464   F: -+ 14 10. 698. 1352


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M&S All Emails Extracted                                                                                       Page # 52 of91                                                                                                   Exhibit 164
                               Case 1:24-cv-03744-BAH                                               Document 16-14                                    Filed 01/03/25                               Page 51 of 89

   Subject: Ghana Growth Partners, LLC v. Ryan Dillon-Capps
   From : "Brennen , Robert S." <RBRENNEN@MilesStockbridge.com>
   To: Ryan Wagner <ryan@mxt3.com>
   Cc : "Hoffberger, Victoria (Tory)" <vhoffberger@milesstockbridge.com> , "Frenkil, Steven D." <sfrenkil@MilesStockbridge.com >
   Date Sent: Monday, July 15, 2024 9:10:33AM GMT-04:00
   Date Received : Monday, July 15, 2024 9:10:53AM GMT-04 :00

   Notwithstanding your continued contempt of Court and fai lure to comply with the Court's Preliminary Injunction, Ohana has succeeded in regaining Global Admin ri ghts
   in its Microsoft 365 tenant and has disabled access via your account, the Null account and the Breakglass account.

   Ohana has not regained administrative access to its GoDaddy account and you remain in contempt of the Prelimina,y Injunction by failin g to transfer admini strative
   control of that account and thus subject to dail y fines of$2 ,500 (which, as of yesterday afternoon, amount to $42,500.00). I f you transfer that control today, Ohana will
   agree that your contempt of Court has ended, such that no further fines will accrue, and Ohana will withdraw its pending motion to have you placed in j ail until you
   comply with the injunction. You have nothing to gain from refusing to cooperate with the transfer of control of the GoDaddy account and Ohana's domain name
   registrations, so we hope that you will choose to cooperate.

   Robert Brennen

   '""""""'
   100 light Street     Baltimore, MO 21202
   0 : +1 ◄ 1 0.385 . 3653   0: +1 410.727.6464   F: +t 410.698.1352


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M&S All Emails Extracted                                                                                          Page# 53 of91                                                                                                       Exhibit 164
                          Case 1:24-cv-03744-BAH                                                 Document 16-14                                   Filed 01/03/25                             Page 52 of 89

   Subject: Ohana v Dillon-Capps
   From : "Brennen, Robert S." <RBRENNEN@MilesStockbridge.com>
   To: "ryan@mxt3.com" <ryan@mxt3.com>
   Date Sent: Wednesday, July 17, 2024 6:32:48 AM GMT-04:00
   Date Received : Wednesday, July 17, 2024 6:32 :58 AM GMT-04 :00


   Between 8 and 8:30 this morning you will receive a text message from GoDaddy in connection w ith another attempt to reset the password on th e Ohana Go Daddy account. The text w ill c
   Sent from my iPhone




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M&S All Emails Extracted                                                                                       Page # 54 of9 l                                                                                                 Exhibit 164
                         Case 1:24-cv-03744-BAH                                                Document 16-14                                   Filed 01/03/25                            Page 53 of 89

  Subject: Ohana v Dillon-Capps
  From : "Brennen, Robert S." <RBRENNEN@MilesStockbridge.com>
  To: Ryan wagner <ryan@mxt3.com>
  Date Sent: Wednesday, July 17, 2024 2:23:21 PM GMT-04 :00
  Date Received : Wednesday, July 17, 2024 2:24:09 PM GMT-04:00
  Attachments : Notice of \Nlthdrawal of Petition for Contempt (lncarceration).pdf,Proposed Order Striking Show Cause Order.pd!

  The attached were fi led via the MDEC serv ice thi s afternoon .

  Robert Brennen
   Prtne1pol
  100 Light Street Baltimore, MD 21202
  D: +1410.385.3653 0: +t 410.727.6464     F: +1410.698.1352




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                            Case 1:24-cv-03744-BAH                                               Document 16-14                                   Filed 01/03/25                              Page 54 of 89

   Subject: Ohana Growth Partners, LLC v. Ryan Dillon-Capps, C-03-CV-24-2264
   From : "Brennen , Robert S." <RBRENNEN@MilesStockbridge.com>
   To: "Fallyn .Al lman@mdcourts.gov" <Fallyn .Allman@mdcou rts.gov> ,Rachel Kiefer <rachel.kiefer@mdcourts.gov>
   Cc : Ryan Wagner <ryan@mxt3.com> , "Hoffberger, Victoria (Tory)" <vhoffberger@milesstockbridge.com>, "Frenkil, Steven D." <sfrenkil@MilesStockbridge.com> , "Edwards , Kimale J."
   <kjedwards@MilesStockbridge.com>
   Date Sent: Wednesd ay, July 17, 2024 2:32:15 PM GMT-04 :00
   Date Received : Wednesday, July 17, 2024 2:32 :44 PM GMT-04:00
   Atta chm ents : Notice of IMthdrawal of Petition for Contempt (lncarceration).pdf,Proposed Order Striking Show Cause Order.pd!

   Good atlernoon,

   In connection with the Show Cause hearing in the above-referenced matter currently set before Judge Barranco on August 7, 2024 , please see the attac hed courtesy copies
   of documents that the PlaintiffOhana Growth Partners, LLC filed via MDEC earlier this afternoon .

   Respectfully,

   Robert Brennen
   Pnncipol
   100 Light Street   Baltimore, M D 21202
   D: +1410.385.3653     0: +1410.727.6464   F: +1 410.698.1352


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M&S All Emails Extracted                                                                                       Page# 56 of91                                                                                                   Exhibit 164
                         Case 1:24-cv-03744-BAH                                                Document 16-14                                  Filed 01/03/25                             Page 55 of 89

  Subject: Ohana Growth Partners, LLC v. Ryan Dillon-Capps, C-03-CV-24-002264 - Request for Entry of Default
  From : "Duvall , Jessica L." <jduvall@MilesStockbridge.com >
  To: "ryan@mxt3.com" <ryan@mxt3.com >
  Cc : "Brennen , Robert S." <RBRENNEN@MilesStockbridge.com>, "Edwards, Kimale J." <kjedwards@MilesStockbridge .com>
  Date Sent: Tuesday, August 20, 2024 11 :44:31 AM GMT-04:00
  Date Received : Tuesday, August 20, 202411 :44 :49AM GMT-04 :00
  Attachments: Request for Entry of Order of Default Against Ryan Dillon-Capps.pdf,Exhibit 1.pdf,Exhibit 2 .. pdf,Proposed Order of Default.pd!

  Hello,

  Please see the attached Request for Entry of Default, Exhibits , and Proposed Order that were filed with the court today.

  Thank you ,

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M&S All Emails Extracted                                                                                    Page# 57 of91                                                                                                  Exhibit 164
                         Case 1:24-cv-03744-BAH                                                 Document 16-14                                   Filed 01/03/25                             Page 56 of 89

  Subject: Automatic reply: [EXTERNAL] Immediate Action Required - Final Attempt to Resolve Critical Legal Issues
  From : "Hoffberger, Victoria {Tory)" <vhoffberger@milesstockbridge.com>
  To: Ryan Wagner <ryan@mxt3.com>
  Date Sent: Friday, August 23, 2024 10:30:19 AM GMT-04:00
  Date Received : Friday. August 23. 2024 10:30:29 AM GMT-04:00


  I am out of the office on parental leave. Please reach out to my assistant, Tammy Medinger at tm edinger@milesstockbridge.com , and she wi ll make sure that your matter is
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M&S All Emails Extracted                                                                                      Page# 58 of91                                                                                                    Exhibit 164
                              Case 1:24-cv-03744-BAH                                            Document 16-14                                   Filed 01/03/25                             Page 57 of 89

  Subject: Notification of Service for Case: C-03-CV-24-002264, Ohana Growth Partners , LLC vs. Ryan Dillon-Capps for filing Opposition , Envelope Number: 17940350
  From : "Edwards, Kimale J." <kjedwards@MilesStockbridge.com>
  To: "ryan@mxt3.com " <ryan@mxt3.com>
  Cc: "Brennen , Robert S." <RBRENNEN@MilesStockbridge.com> , "Duvall, Jessica L."<j duvall@MilesStockbridge.com>
  Date Sent: Monday, September 9, 2024 11 :25:1O PM GMT-04:00
  Date Received : Monday, September 9, 2024 11 :25:28 PM GMT-04:00
  Attachments : Proposed Order Denying Motion to Dismiss.pdf,Opposition to Defendant's Motion to Dismiss - Dillon-Capps (1).pd f

   Please find attached Plaintiff' s Opposition a nd the Proposed Order that was tiled today.

  Thank you - Kim
  Assistant to Robert Brennen

  From: no-reply@etilingmail .tylertech .cloud
  Date: Mon, Sep 9, 2024 , 5: I 7PM
  To: "Edwards, Kimale J." <kjedwards@MilesStockbridge .com>
  Subject: [EXTERNAL] Notification of Service for Case: C-03-CV-24-002264 , Ohana Growth Partners, LLC vs . Ryan Dillon-Capps for filing Opposition, Envelope
  Number 17940350

  [EXTERNAL)




                                                                                                                                                                                Notification of Service
                                                                                                                                                                                  Case Number C-03-CV-24-002264
                                                                                                                                                        Case Sty le Ohana Growth Partners, LLC vs. Ryan Dill on-Capps
                                                                                                                                                                                         Enve lope Number 17940350


   Thi s is a notification of service for the tiling listed . Please click the link below to retrieve the submitted document.

    Filing Details
    Case Number                                                             C-03 -CV-24-002264
    Case Style                                                              Ohana Growth Partners, LLC vs. Ryan Dill on-Capps
    Dateffime Submitted                                                     9/9/2024 5 16 PM EST
    Filing Type                                                             Opposition
    Filing Description                                                      Pl ai ntiff' s Opposition to Defendant's Motion to Di smi ss
    Filed By                                                                Robert Brennen
                                                                            Ryan Wagner:

                                                                            Ryan Dillon-Capps (ryan@mxt3 com)



                                                                            Ohana Growth Partners, LLC:

                                                                            Robert Brennen (rbrennen@milesstockbridge .com)

                                                                            Steven Frenkil (sfrenkil @milesstockbridge.com)
    Serv ice Contacts
                                                                            Victoria Klein (vklein@milesstockbridgc.com)

                                                                            Kim Edwards (kjedwards@milesstockbridge.com)

                                                                            Jessica Duvall Uduvall@MilesStockbridge.com)



                                                                            Ryan Dillon-Capps

                                                                            Ryan Dill on-Capps (ryan@mxt3 .com)


    Document Details
    Se rved Document                                                       IJ:!QlMllQad Do1;i,11n,m
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   contact the author ,r you would like to receive written advice In a format which complies with IRS rules and may be relted upon to av01d penalties.


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M&S All Emails Extracted                                                                                      Page# 59 of91                                                                                                  Exhibit 164
              Case 1:24-cv-03744-BAH   Document 16-14      Filed 01/03/25   Page 58 of 89




                                              60 / 91
M&S All Emails Extracted                   Page# 60 of91                                Exhibit 164
                           Case 1:24-cv-03744-BAH                                                 Document 16-14                                   Filed 01/03/25                              Page 59 of 89

   Subject: Notification of Service for Case: C-03-CV-24-002264, Ohana Growth Partners, LLC vs. Ryan Dillon-Capps for fi ling Opposition , Envelope Number: 18117580
   From : "Edwards, Kimale J." <kjedwards@MilesStockbridge.com>
   To: "ryan@mxt3.com" <ryan@mxt3.com>
   Date Sent: Monday, September 23, 2024 1:22 :27 PM GMT-04:00
   Date Received : Monday, September 23, 2024 1:22:42 PM GMT-04 :00
   Attachments : extemal.png ,2024-0~23 Opposition to Defendant's Motion to Vacate Order of Default.pdf,2024-0~23 Proposed Order Denying Motion to Vacate Order of Default.pd!

   Good A tlernoon - Please find attached Plaintiff' s Opposition and Propo sed Order that was ft led today.

   Thank you - Kim
   Assistant to Robe11 Brennen




   From: no-reply@efilingmail.tylertech.cloud <no-reply@etilingmail.tylertech.cloud >
   Sent: Monday, September 23, 2024 1:14 PM
   To: Edwards, Kimale J. <kjedwards@M ilesStockbridge.com >
   Subject: [EXTERNAL] Notification of Service for Case: C-03-CV-24-002264 , Ohana Growth Partners, LLC vs. Ryan Dillon-Capps for filing Opposition, Envelope Number: 18117580



   [EXTERNAL]




                                                                                                                                                                            Notification of Service
                                                                                                                                                                            Case Number: C-03-CV-24-002264
                                                                                                                                                 Case Style : Ohana Growth Partners , LLC vs. Ryan Dillon-Capps
                                                                                                                                                                                  Envelope Number: 18117580



   This is a notification of service for the filing listed . Please click the link below to retrieve the submitted document.

                                                                                                                  Filing Details
    Case Number                                                              C-03-CV-24-002264
    Case Style                                                               Ohana Growth Partners, LLC vs. Ryan Dillon-Capps
    Date/Time Submitted                                                      9/23/2024 1:13 PM EST
    Filing Type                                                              Opposition
    Filing Description                                                       Plaintiffs Opposition to Defendant's Motion to Vacate Order of Default
    Filed By                                                                 Robert Brennen
                                                                             Ryan Wagner:

                                                                             Ryan Dillon-Capps (ry.sm.@mxt3 coml



                                                                             Ohana Growth Partners , LLC :

                                                                             Robert Brennen (rbrennen@mHesstockbridg~

                                                                             Steven Frenkil (.sfrenlill@milesstockbrjdge..com)
    Service Contacts
                                                                             Jessica Duvall (jd..i.lYall.@MilesStockbridge..com)

                                                                             Victoria Klein (~@mHesstockbridge..com)

                                                                             Kim Edwards (~ied.w.ar.d.s.@milesstockbrjdge..com)



                                                                             Ryan Dillon-Capps:

                                                                             Ryan Dillon-Capps (ry..an.@mxt3 coml




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                              Case 1:24-cv-03744-BAH                                                 Document 16-14                                   Filed 01/03/25                             Page 60 of 89
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    M&S All Emails Extracted                                                                                      Page# 62 of91                                                                                                   Exhibit 164
                   Case 1:24-cv-03744-BAH                                 Document 16-14                        Filed 01/03/25                   Page 61 of 89

  Subject: Notification of Service for Case: C-O~CV-24-002264, Ohana Growth Partners, LLC vs. Ryan Dillon-Capps for filing Opposition , Envelope Number: 18169161
  From : "Edwards , Kimale J." <kjedwards@MilesStockbridge.com>
  To: "ryan@mxt3.com" <ryan@mxt3.com>
  Cc : "Brennen , Robert S." <RBRENNEN@Mil esStockbridge.com> , "Duvall, Jessica L."<jduvall@MilesStockbridge.com>
  Date Sent: Thursday, September 26, 2024 8:42:53 AM GMT-04 :00
  Date Received : Thursday, September 26 , 2024 8:43:09 AM GMT-04:00
  Attachments : extemal.png ,2024-0!>-26 Opposition to Defendant's Motion to Strike Opposition to Motion to Vacate Order of Default.pdf,2024-0!>-26 Proposed Order Denying Motion to Strike
  Opposition to Motion to Vacate Ord er of Default.pdf

   Good Morning - Pl ease fi nd attached Plaintiff's O ppositi on and Proposed Order that was filed today.

   Than k you - Kim
   Assistant to Robe1t Brennen




  From : no-reply@etilingmai l.tylertech.cloud <no-reply@etilingmail .tylertech.cloud >
  Sent: Thursday, Septem ber 26, 2024 8:35 AM
  To: Edwards, Kimale J. <kjedwards@MilesStockbridge.com >
  Subject: [EXTERNAL] Notificati on of Service for Case: C-03-CV-24-002264, Ohana Growth Partners, LLC vs. Ryan Dillon-Capps for tiling Opposition, Envelope Number: 18169161



   [EXTERNAL)




                                                                                                                                   Notification of Service
                                                                                                                                         Case Number: C-03-CV-24-002264
                                                                                                              Case Style : Ohana Growth Partners, LLC vs . Ryan Dillon-Capps
                                                                                                                                               Envelope Number: 18169161



   This is a notification of service for the filing listed . Please click the link below to retrieve the submitted document.

                                                                                       Filing Details
   Case Number                                             C-03-CV-24-002264
   Case Style                                              Ohana Growth Partners , LLC vs. Ryan Dillon-Capps
   Date/Time Submitted                                     9/26/2024 8:34 AM EST
   Filing Type                                             Opposition
                                                           Plaintiffs Opposition to Defendant's Motion to Strike Plaintiffs Opposition to Defendant's Motion to Vacate
   Filing Description
                                                           Order of Default
   Filed By                                                Robert Brennen
                                                           Ryan Wagner:

                                                           Ryan Dillon-Capps (ry.an@mxt3 com)



                                                           Ohana Growth Partners , LLC :

                                                           Robert Brennen (rbrennen@milesstockbridge...com)

                                                           Steven Frenkil (.sfren.kil.@milesstockbrjdge...com)
   Service Contacts
                                                           Victoria Klein ('Lklein@milesstockbrjdge...com)

                                                           Kim Edwards (.l5jed.ward..s.@milesstockbrjdge...com)

                                                           Jessica Duvall (jdJ.LILail.@MjJesStockbridge...com)



                                                           Ryan Dillon-Capps:

                                                           Ryan Dillon-Capps (ry_an@mxt3 com)




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                                                                                          63 / 91
M&S All Emails Extracted                                                             Page# 63 of91                                                                         Exhibit 164
                          Case 1:24-cv-03744-BAH                                                Document 16-14                                  Filed 01/03/25                             Page 62 of 89


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                    Case 1:24-cv-03744-BAH                                Document 16-14                        Filed 01/03/25                  Page 63 of 89

   Subject: FW Ohana Growth Partners, LLC v Ryan Dillon-Capps
   From: "Brennen , Robert S." <RBRENNEN@MilesStockbridge.com>
   To: Ryan Wagner <ryan@mxt3.com>
   Date Sent: Saturday, September 28, 2024 9:54 :23 AM GMT-04:00
   Date Received : Saturday, September 28, 2024 9:58:24 AM GMT-04:00
   Attachments : Civil - Case Information Report1 .pdf,2024-06-14 Complaint Ohana v Dillon-Capps.pdf,2024-06-14 TRO Pl Cover Motion .pdf,2024-06- 14 MOL in support ofTR O. pdf,Exhibit 1 to
   MOL - Hartman Affidavit.pdf,Exhibit 2 to MOL - Justin_Drummond Affidavit.pdf,Exhibit 3 to MOL.pdf,2024-06-14 Proposed TRO .pdf,2024-06-14 -Proposed Order--FILED.pdf,2024-06-17
   Notice of Clerk entering TRO into MDEC.pdf,2024-06-17 - ORDER Temporary Restraining Order entered (DiSimone)).pdf

   Defendant Dillon-Capps ,

   Thank you for your recent message. As application of the slightest common sense and careful review of the Court record might have revealed , your message contains a
   series factually incorrect statements and assumptions.

   Below is the email that, consistent with the Certificate of Notice, was transmitted to {Yan d1lloncap~@.Qh.a.ru!g~ at 11 :49 a.m. on June 14, 2024 with attached copies
   of the Complaint and TRO motion papers. As the email indicated , the documents had yet to be filed electronically via the Maryland Electronic Courts (MDEC) system .

   As you may have noticed , after the Clerk of the Court accepts a filing through MDEC, an electronic date
   stamp is applied in the upper right-hand corner of the first page of the Court's electronic copy. Here is an example of what th at looks like:


                           E-FILED; Baltimore County Circuit Court
       Docket: 6/1412024 12:18 PM; Submission: 6/141202412:18 PM
                                              Envelope: 16844353
   As you can see , the "2024-06-14 Proposed TRO" pdf file that was attached to the 11 :49 a.m. email does not bear such a time stamp, which is consistent with the fa ct that
   it had not yet been filed via MDEC and accepted by the Clerk. And , of course, the signature line for a judge is blank, and the blank in Paragraph 2 for the bond amount
   and blanks for the date and time above the signature line for the judge are also blank . After that proposed Order was filed , with the Compla int and other motion papers,
   the MDEC system applied a date stamp in the upper right-hand corner of the Court's electronic copy. See the 2024-06-14-Proposed Order-FILED which I have attached .

   When , on June 17, 2024 , Judge DiSimone determined that Ohana' Motion for Temporary Restraining Order should be granted , his Chambers pulled up a copy of the
   Court's electronic copy of the proposed Order, which , of course, bore the June 14 th filing date stamp. At Judge DiSimone's direction, his staff inserted "$1 .00 (one dollar)"
   on the blank in Paragraph 2, inserted the date and time above the signature line. His staff then printed the document, and he signed it. At 11 :06 a.m., someone in the
   Clerk's office with the initials RB entered the signed TRO into the MDEC system. See attached Notice of Clerk entering TRO into MDEC. The MDEC system then
   superimposed a new e-filed date stamp over the original date stamp . See 2024-06-17 ORDER Temporary Restraining Order entered (DiSimone), a copy of which is
   attached. If you look carefully at some of the many orders denying your various motions and granting Ohana 's motions, in which the judg e signed a proposed order that
   we had submitted or stamped an order on first page of one of your motions, you will frequently see one e-file date stamp superimposed on another.

   Wh ile I did appear in Judge DiSimone's courtroom on the morning of June 17 , 2024, and was present when he signed the TRO , I did not wait for the TRO to wa lked to
   the Clerk's office and docketed. I was not in the courthouse at 2:45 p.m. when my colleague Ms. Hoffberger, attorney of record for Ohana and listed on the signature
   block, personally appeared at the Clerk's filing desk, filed a hard copy of the Line (which bore my electronic signature), paid the $1 .00 bond to the Clerk, and obtained a
   physically date-stamped hard copy of the Line. The Line , which makes no representation of my being physically present at its filing , is completely accurate.

   Thus , as you now hopefully understand , your assertion that we signed the TRO for Judge DiSimone prior to filing the proposed version on June 14th is, like every
   substantive assertion you have attempted to make to the Court in th is matter, completely wrong .

   Have a great weekend !




   From: Brennen, Robert S.
   Sent: Friday, June 14, 2024 11:49 AM
   To: Ryan .DillonCapps @ohanagp.com
   Subject: Ohana Growth Partners, LLC v Ryan Dillon-Capps
   Importance: High

   We have been retained by Ohana Growth Partners , LLC to represent it in connection with your ongoing breaches of your contract with and duty of loyalty
   to the Company and your continuing violation of M o. Co □ E ANN., CRIM. LAw., §7-302(c) through your refusal to provide Global Admin rights to Phil Leadore of
   Hartman Executive Advisors . Your continued refusal to comply with Ohana's demands, and your action to lock VP of Human Resources Richard Hartman
   out of the Company's MS 365 account has left the Company with no option but to seek assistance of the courts .

   Attached are copies of a Complaint that will be filed on Ohana 's behalf against you in the Circuit Court for Baltimore County. Also attached is a Motion for
   Entry of a Temporary Restraining Order and Preliminary Injunction , Memorandum of Law in support of the motion with exhibits , and a proposed Order that
   will be filed along with the Complaint. Our transmitting these documents does not currently constitute service of process triggering your duty to file a
   response to the Complaint , but it does place you on notice of the Motion for a TRO .

   Immediately after the documents are filed we will transmit courtesy copies of the filings to the Hon. Michael J. Finifter, who is serving as today's Chambers
   Judge for the Court , and request that we be given an opportunity to heard on the Motion for a TRO as soon as possible this afternoon . I will advise you as
   to whether the Court sets an in-person or telephonic hearing on the motion. If you are represented by an attorney, you should have your attorney contact
   me as soon as possible.

   Ohan a will consider withdrawing the Motion for TRO provided that (1) you immediately provide Global Ad min rights to Phil Leadore of Hartman Executive
   Advisors ,; (2) we receive confirmation from Mr. Leadore that he has received and can exercise those rights ; and (3) you confirm in writing that you wi ll
   comply with the suspension letter sent to you yesterday by Richard Hartman. Time is of the essence. Ohana is also open to a negotiated resolution to the
   entire matter and any claims that you believe you may have , but will not entertain any discussions until the issue of Global Admin rights is resolved. I am
   available by telephone to discuss the matter with you and/or your attorney should you wish to do so .

   Regards ,


   Robert Brennen
   Princi pal


                                                                                        65 / 91
M&S All Emails Extracted                                                             Page # 65 of9l                                                                        Exhibit 164
                             Case 1:24-cv-03744-BAH                                               Document 16-14                                   Filed 01/03/25                              Page 64 of 89
   100 Light Street   Baltimore, MO 21202
   0 : +1410.385 .3653    0 : + I 410.727.6464   F: +1 410.698. 1352




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                              Case 1:24-cv-03744-BAH                                            Document 16-14                                   Filed 01/03/25                            Page 65 of 89

   Subject: Case: C--03-CV-24-002264, Ohana Growth Partners, LLC vs. Ryan Dillon-Capps: June 26, 2024 Transcript
   From : "Edwards , Kimale J." <kjedwards@MilesStockbridge.com>
   To: Ryan Wagner <ryan@mxt3.com>
   Date Sent: Monday, September 30, 2024 9:49:44 AM GMT-04:00
   Date Received : Monday, September 30, 2024 9:53:09 AM GMT-04:00
   Attachments : 26jun24countyohanafull.pdf

   Good Morning - Please see the attached .

   Thank you - Kim
   Assistant to Robe1t Brennen

   Kim J. Edwards
   leaol Procl'JCe Ass~tont
   100 Light Streel   Balrimore, MD 21202
   0: +14 10.385.3718    0: •1410.727.6464   F: +1410.697.6 160

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                         Case 1:24-cv-03744-BAH                                                  Document 16-14                                   Filed 01/03/25                             Page 66 of 89

  Subject: Ohana Growth Partners, LLC v. Ryan Dillon-Capps
  From : "Brennen , Robert S." <RBRENNEN@MilesStockbridge.com>
  To: Ryan Wagner <ryan@mxt3.com>
  Cc: "Frenkil, Steven D." <sfrenkil@MilesStockbridge.com>
  Date Sent: Wednesday, October 2, 2024 4:41 :12 PM GMT-04 :00
  Date Received : Wednesday, October 2, 2024 4:41 :25 PM GMT-04:00

   Ryan Dillon-Capps,

   Whi le the parties ' respective views of the re levant facts and applicable law seem irreconci lab le in key respects, Ohana GroW1h Partners is open to yo ur meeting with me
   and Mr. Frenki l for a discussion of whether there is any poss ibility ofa negotiated end to the ongoing litigation
   If that is of interest, please advise as to your availabi lity for balance of this week and next week .

   Robert Brennen
   Pflncipol
  100 t ight Street Ralrimore. MO ?1202
  0 : +14 10.385.3653 O: +1410.727.6464      F: +1 410.698.1352




  mlt'lD


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   contact the author 1f you would like to receI11e written ad111ce In a fOl"mat which complies with IRS rules and m ay be rl!l1ed upon to a1101d penalties.


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M&S All Emails Extracted                                                                                       Page# 68 of91                                                                                                    Exhibit 164
                     Case 1:24-cv-03744-BAH                                  Document 16-14                     Filed 01/03/25                   Page 67 of 89

   Subject: Case: C-03-CV-24-002264, Ohana Growth Partners, LLC vs. Ryan Dillon-Capps for filing Opposition , Envelope Number: 18380460
   From : "Edwards , Kimale J." <kjedwards@MilesStockbridge.com>
   To: Ryan Wagner <ryan@mxt3.com>
   Date Sent: Friday, October 11 , 2024 2:41:09 PM GMT-04:00
   Dale Received : Friday, October 11 , 2024 2:41 :28 PM GMT-04:00
   Attachments : extemal.png ,2024-10-11 Opposition to Motion to Assert Rights and Request Immediate Rulings.pdf,2024-10-11 Opposition to Motion to Add Counsel of Record .pdf,202 4-1 0-11
   Opposition to Motion to Compel.pdf,2024-10-11 Proposed Order Denying Motion to assert Rights, Motion to Add Counsel & Motion to Compel.pd!

   Good Afternoon - Please fi nd attached the be low documents that were filed today·

       •   Plaintiffs Opposition to Defendant's Moti on to Assen Rights and Request Immediate Ru lings
       •   Plaintiff's Opposition to Defendant's Motion to Add Counsel of Record
       •   Pl aintiffs Opposition to Defendant's Motion to Motion to Compel
       •   Proposed Order - Denying Defendant's Motions

   Thank you - Kim
   Assistant to Robert S. Brennen




   From : no-reply @efi lingmail.tylertech.cloud <no-reply@efilingmail.tyler tech.cloud >
   Sent: Friday, October 11, 2024 2:32 PM
   To: Edwards, Kimale J. <kjedwards@M il esStockbridge.com>
   Subj ect: [EXTERNAL] Notification of Service for Case: C-03-CV-24-002264, Ohana Growth Partners, LLC vs. Ryan Dillon-Capps for tiling Opposition, Envelope Number: 18380460



   [EXTERNAL)




                                                                                                                                   Notification of Service
                                                                                                                                        Case Number: C-03-CV-24-002264
                                                                                                              Case Style: Ohana Growth Partn ers, LLC vs . Ryan Dillon-Capps
                                                                                                                                               Envelope Number: 18380460



   This is a notification of servi ce for the filing listed. Please click the link below to retrieve the submitted document.

                                                                                            Filing Details
   Case Number                                               C-03-CV-24-002264
   Case Style                                                Ohana Growth Partners , LLC vs. Ryan Dillon-Capps
   Date!Time Submitted                                       10/11/2024 2:30 PM EST
   Filing Type                                               Opposition
   Filing Description                                        Plaintiffs Opposition to Defendant's Motion to Assert Rights and Request Immediate Rulings
   Filed By                                                  Robert Brennen
                                                             Ohana Growth Partners, LLC:

                                                             Robert Brennen (rbrennen@mi!esstockbridge...cQ.!!l)

                                                             Steven Frenkil (illlllsil.@mi!esstockbridge...cQ.!!l)

                                                             Jessica Duvall (jdJ.!llall.@MilesStockbridge...cQ.!!l)

                                                             Victoria Klein (vk!ein@mi!esstockbridge...cQ.!!l)

                                                             Kim Edwards (Jsj~@mi!esstockbridge...cQ.!!l)
   Service Contacts


                                                             Ryan Dillon-Capps :

                                                             Ryan Dillon-Capps (ry.an.@mxt3 com)



                                                             Ryan Wagner:

                                                             Ryan Dillon-Capps (ry.an.@mxt3 com)




                                                                                              69 / 91
M&S All Emails Extracted                                                               Page# 69 of91                                                                      Exhibit 164
                          Case 1:24-cv-03744-BAH                                                 Document 16-14                                   Filed 01/03/25                             Page 68 of 89


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M&S All Emails Extracted                                                                                       Page# 70 of91                                                                                                    Exhibit 164
                     Case 1:24-cv-03744-BAH                                 Document 16-14                    Filed 01/03/25                  Page 69 of 89

   Subject: C-03-CV-24-002264, Ohana Growth Partners , LLC vs. Ryan Dillon-Capps for filing Motion for Special Assignment, Envelope Number: 18381557
   From : "Edwards, Kimale J." <kjedwards@MilesStockbridge.com>
   To: Ryan Wagner <ryan@mxt3.com>
   Date Sent: Friday, October 11 , 2024 3:08 :39 PM GMT-04:00
   Date Received : Friday, October 11 , 2024 3:08:54 PM GMT-04:00
   Attachments : extemal.png ,2024-1 0-11 Request for Special Assignment.pdf,2024-10-11 - Order Assigning Matter to Judge.pd!

   Good Afte rn oon - Please find attached Plaintiff's Request for Special A ssignment and Proposed Order that was til ed today.

   T hank you - Kim
   Ass istant to Robett S. Brennen




   From: no-reply@efilingmail.tylertech .cloud <no-reply @efilingm ail.tylertech .cloud>
   Sent: Friday, October 11, 2024 3:06 PM
   To: Edwards, Kimale J. <kjedwards@MilesStockbridge.com>
   Subject: [EXTERNAL) Notification of Service for Case: C-03-CV-24-002264, Ohana Growth Partners, LLC vs. Ryan Dillon-Capps for filing Motion for Special Assignm ent, Envelope Number:
   18381557



   [EXTERNAL]




                                                                                                                                Notification of Service
                                                                                                                                       Case Number: C-03-CV-24-002264
                                                                                                            Case Style : Ohana Growth Partners, LLC vs . Ryan Dillon-Capps
                                                                                                                                             Envel ope Number: 18381557



   This is a notification of service for the filing listed . Please click the link below to retrieve the submitted document.

                                                                                           Filing Details
   Case Number                                              C-03-CV-24-002264
   Case Style                                               Ohana Growth Partners, LLC vs . Ryan Dillon-Capps
    DatefTime Submitted                                     10/11/2024 3:05 PM EST
    Filing Type                                             Motion for Special Assignment
   Filing Description                                       Request for Special Assignment
   Filed By                                                 Robert Brennen
                                                            Ryan Wagner:

                                                            Ryan Dillon-Capps (ry..an@mxt3 com)



                                                            Ohana Growth Partners, LLC:

                                                            Robert Brennen (rbrennen@miiesstockbridge.com)

                                                            Steven Frenkil (sfrenkii@miiesstockbridg~
   Service Contacts
                                                            Jessica Duvall Ud.l.!.lrall@MiiesStockbridge...GQ!!l)

                                                            Victoria Klein (~@miiesstockbridge...GQ!!l)

                                                            Kim Edwards (!sj~@miiesstockbridge...GQ!!l)



                                                            Ryan Dillon-Capps :

                                                            Ryan Dillon-Capps (ry..an@mxt3 com)




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                                                                                          71 / 91
M&S All Emails Extracted                                                               Page# 71 of91                                                                   Exhibit 164
                         Case 1:24-cv-03744-BAH                                                 Document 16-14                                   Filed 01/03/25                             Page 70 of 89


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                                                                                                                 72 / 91
M&S All Emails Extracted                                                                                      Page#72'of91                                                                                                    Exhibit 164
                    Case 1:24-cv-03744-BAH                               Document 16-14                       Filed 01/03/25                  Page 71 of 89

   Subject: Notification of Service for Case: C-03-CV-24-002264, Ohana Growth Partners , LLC vs. Ryan Dillon-Capps for filing Proposed Order / Decree, Envelope Number: 18403325
   From : "Edwards, Kimale J." <kjedwards@MilesStockbridge.com>
   To: Ryan Wagner <ryan@mxt3.com>
   Date Sent: Tuesday, October 15, 202412 :15:55 PM GMT-04:00
   Date Received : Tuesday, October 15, 202412 :16: 17 PM GMT-04:00
   Attachments: extemal.png ,2024-10-15 Proposed Order Denying Motion to assert Rights.pdf,2024-10-15 Proposed Order Denying Motion to Add Counsel.pdf,2024-10-15 Proposed Order
   Denying Motion to Compel.pd!

   Good Afternoon - Please find attached the below documents that were tiled today to correct the Deficiency Notice ti led on 10/ 15/2024 with envelope 18380460

      • Pl ai ntiff's Proposed Order Denying Motion to Assert Rights and Request Immedi ate Rulings
      • Plaintiffs Proposed Order Denying Motion to Add Counsel of Record
      • Plaintiff's Proposed Order Denying Motion to Motion to Compel

   Thank you - Kim
   Assistant to Robert S. Brennen




   From: no-reply @efilin gmail.tylertech.cloud <no-reply@efilingmail .tylertech .cloud >
   Sent: Tuesday, October 15, 2024 11:33 AM
   To: Edwards, Kima le J.<kjedwards@M ilesStockbridge.com>
   Subject: [EXTERNAL) Notification of Service for Case: C-03-CV-24-002264, Ohana Growth Partners, LLC vs. Ryan Dillon-Capps for tilin g Proposed Order / Decr ee, Envelope Number:
   18403325



   [EXTERNAL)




                                                                                                                                Notification of Service
                                                                                                                                       Case Number: C-03-CV-24-002264
                                                                                                            Case Style : Ohana Growth Partners , LLC vs. Ryan Dillon-Capps
                                                                                                                                             Envelope Number: 18403325



   This is a notification of service for the filing listed . Please click the link below to retrieve the submitted document.

                                                                                      Filing Details
   Case Number                                            C-03-CV-24-002264
   Case Style                                             Ohana Growth Partners , LLC vs . Ryan Dillon-Capps
   Date/Time Submitted                                    10/15/2024 11 :32 AM EST
   Filing Type                                            Proposed Order/ Decree
   Filing Description                                     Plaintiffs Proposed Order Denying Motion to Add Counsel
   Filed By                                               Robert Brennen
                                                          Ohana Growth Partners , LLC :

                                                          Steven Frenkil (sfrenkil@mi!esstockbridge...@!!l)

                                                          Jessica Duvall (jQl.!Yfill@MilesStockbridge...@!!l)

                                                          Robert Brennen (rbrennen@mi!esstockbridge..cQ!!J)

                                                          Victoria Klein (vk!ein@mi!esstockbridge...@!!l)

                                                          Kim Edwards (.!sj~@mi!esstockbridge..cQ!!l)
   Service Contacts


                                                          Ryan Dillon-Capps:

                                                          Ryan Dillon-Capps (ry..an@mxt3 com)



                                                          Ryan Wagner:

                                                          Ryan Dillon-Capps (ry..an@mxt3 com)




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                                                                                         73 / 91
M&S All Emails Extracted                                                           Page# 73 of91                                                                        Exhibit 164
                         Case 1:24-cv-03744-BAH                                                  Document 16-14                                   Filed 01/03/25                             Page 72 of 89


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M&S All Emails Extracted                                                                                       Page# 74 of91                                                                                                    Exhibit 164
                         Case 1:24-cv-03744-BAH                                                Document 16-14                                  Filed 01/03/25                             Page 73 of 89

  Subject: RE: [EXTERNAL] Opportunity to Negotiate Settlement - October 18, 2024
  From : "Brennen, Robert S." <RBRENNEN@MilesStockbridge.com>
  To: "ryan@mxt3.com" <ryan@mxt3.com>
  Cc : "Frenkil , Steven D." <sfrenkil@MilesStockbridge .com>
  Date Sent: Friday, October 18, 2024 1:45:09 PM GMT-04:00
  Date Received : Friday, October 18, 2024 1:45:22 PM GMT-04 :00

  Consistent with its position throughout the ongoing litigation, Ohana Growth Partners remains open to good faith negotiations regarding a possible resolution of the
  litigation. However, in light of the parties' respective and very divergent views on the material facts and applicable law, Ohana does not th ink that dire ct party to party
  discussions are likely to be constructive . Ohana proposes that the parties agree to participate in settlement discussions with the assistan ce and participation of a
  mediator appointed by the Court, preferably a retired Circuit Court judge. Please advise whether you would object to or consent to the Court's referring the matter to a
  court-appointed mediator for mediation . If you consent, or at least do not object, we will prepare and file a request to the Court that it make such a referral and indicate in
  the request that you either consent, or do not object.

   We look forward to hearing from you .




   From: Rya n Wa gner <ryan @mxt3.com >
   Sent: Friday, October 18, 2024 11:30 AM
   To: Bre nnen, Robert S.< RBRENNEN @MilesStockbridge.com >; Frenkil, Steven D.<sfrenki l@MilesStockbridge.com >; Hoffberger, Victoria (Tory) <vhoffberger@milesstockbridge.com >;
   Edwards, Kimal e J.< kjedwards @MilesStockbridge.com> ; Butler, Holly Drumheller <hbutler @MilesStockbridge.com >; Du vall , Jessica L. <jduva ll @MilesStockbridge.com>
   Subject: [EXTERNAL) Opportunity t o Negoti ate Settlement - October 18, 2024



   [EXTERNAL]

   I am writing to formally propose an opportunity to engage in negotiations to resolve the ongoing litigation and open to discussing future litigation with
   Ohana Growth Partners, LLC and Miles & Stockbridge, PC . I believe that an amicable resolution can be achieved without the need for additional litigation,
   which would be beneficial to both parties in terms of time , cost, and preserving business relations.

   If you wi sh to open negotiations, please respond to this emai l to declare participating and representing parties. I w ill prov ide an updated negot iation agreement that aligns.
   I am confident that through constructive di alogue, we can arri ve at a so luti on that meets the needs of all involved.

   Pl ease include the following when y ou respond.

   _ _______________ (parti es) arc open to disc ussions on the foll owing key points:

       1. [Briefly outline the main points you wish to negotiate]
       2. [Propose potential terms or frameworks for negotiation , if you want to propose terms for the negotiation agreement]

   A bel ief that negoti ating in good faith at this stage wi ll allow us to avoid further unnecessary escalation of the situation and fi nd a soluti on 1s to Ohana Gro~•t h Partners,
   LLC and M iles & Stockbridge, PC benefit.

   Please feel free to contact me via email at ry..an@mxt3 com i f you have any prel iminary questi ons to ask in good fa ith.

   I hope we can work towards a resolution.

   The previous term s for the negotiation agreement are no longer available. previous term s arc no longer avai lab le, and the closed sess ion is no longer avail able .

   w ith kindness and generosity ,

   Ryan Dill on-Capps

   1334 M apl e Ave

   Essex MD 2 122 1
   703-303-111 3




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M&S All Emails Extracted                                                                                     Page# 75 of91                                                                                                  Exhibit 164
                            Case 1:24-cv-03744-BAH                                               Document 16-14                                   Filed 01/03/25                             Page 74 of 89

   Subject: Ohana Growth Partners, LLC v. Ryan Dillon-Capps, C-03-CV-24-002264
   From : "Duvall , Jessica L." <jduvall@MilesStockbridge.com>
   To: "ryan@mxt3.com" <ryan@mxt3.com>
   Cc: "Brennen , Robert S." <RBRENNEN@MilesStockbridge.com> , "Edwards, Kimale J." <kjedwards@MilesStockbridge .com>
   Date Sent: Friday, October 18, 2024 8:03:14 PM GMT-04:00
   Date Received : Friday, October 18, 2024 8:03:40 PM GMT-04 :00
   Attachments: Proposed Order re Motion for Protective Order. Dillon-Capps .pdf,2024-10-14 Motion for Protecti ve Order.pdf,Opposition to Motion for Expedited Discovery.pdf,Proposed Order
   re Oposition to Motion for Expedited Discovery- Dillon-Capps.pdf,Request for Scheduling Conference . Dillon Capps.pd!

   Hello,

   Please see the attached documents that were filed with the court today.

   Thank you ,

   Jessica L. Duvall (She/Her/ Hers )
   Assoc1are

   100 Light Street Baltimore, MD 21202
   0: +1410.385.3436 O; ♦ 1410.727. 6464         F: tl 410.385.3700


   •           · M ILES &
   ~f~ STOCKBRIDGE
   .12!2 I ~     I (duvall@mllesgockbridse.com

   mlClD


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M&S All Emails Extracted                                                                                      Page# 76 of91                                                                                                   Exhibit 164
                    Case 1:24-cv-03744-BAH                               Document 16-14                      Filed 01/03/25                 Page 75 of 89

   Subject: RE : [EXTERNAL) Opportunity to Negotiate Settlement - October 18, 2024
   From : "Brennen, Robert S." <RBRENNEN@MilesStockbridge.com>
   To: "ryan@mxt3.com" <ryan@mxt3.com>
   Cc: "Frenkil , Steven D." <sfrenkil@MilesStockbridge.com>
   Date Sent: Monday, October 21, 2024 9:24:43 AM GMT-04:00
   Date Received : Monday, October 21 , 2024 9:25:01 AM GMT-04:00

   Because Judge Rolle is a full-time judicial appointee , she is barred by Maryland Rule 18-203.S(a) from serving as a mediator. The Circuit Court for Baltimore County
   could appoint a retired judge from that Circuit to serve as the mediator. Do you have a preference with regard to a particular retired judge of the Baltimore County Circuit
   Court?




   From: Ryan Wagner <ryan@mxt3.com>
   Sent: Friday, October 18, 2024 2:44 PM
   To: Brennen, Robert S.<RBRENNEN@MilesStockbridge.com>
   Cc: Frenkil, Steven D.<sfrenkil@MilesStockbridge.com>
   Subject: Re : [EXTERNAL) Opportunity to Negotiate Settlement - October 18, 2024


   [EXTERNAL]

   I am open to this opportunity, but I want Judge Stenise L Rolle to be asked and for all parties to accommodate her schedule. Is this acceptable?

   On Fri , Oct 18, 2024 at 1:45PM Brennen , Robert S . < RBRENNEN@milesstockbrjdge...cll!Il> wrote :
     Consistent with its position throughout the ongoing litigation, Ohan a Growth Partners remains open to good faith negotiations regarding a possible resolution of the
     litigation. However, in light of the parties' respective and very divergent views on the material facts and applicable law, Ohana does not think that direct party to party
     discussions are likely to be constructive. Ohana proposes that the parties agree to participate in settlement discussions with the assistance and participation of a
     mediator appointed by the Court, preferably a retired Circu it Court judge. Please advise whether you would object to or consent to the Court's referring the matter to a
     court-appointed mediator for mediation. If you consent, or at least do not object, we will prepare and file a request to the Court that it make such a referral and indicate
     in the request that you either consent, or do not object.

     We look forward to hearing from you .




     From: Ryan Wagner <rvan@mxt3 com>
     Sent: Friday, October 18, 2024 11:30 AM
     To: Brennen , Roberts. <RBRENNEN@MilesStockbridg=>; Frenkil, Steven D. <~Milesstockbridg=>; Hoffberger, Victoria (Tory) <moffi2ern~mi1esstockbridg=>:
     Edwards, Kima le J.<!<jedwards@MilesStockbrid2e.com>; Butler, Holly Drumheller <b!u!11.e.r.@Mi[es5tockbridge.com>; Duvall , Jessica L. <jdyyill@Mi[esStockbridg!:£Q!!l.>
     Subject: [EXTERNAL) Opportunity to Negotiate Settlement - October 18, 2024


     [EXTERNAL]

     I am writing to formally propose an opportunity to engage in negotiations to resolve the ongoing litigation and open to discussing future litigation with
     Oha na Growth Partners , LLC and Miles & Stockbridge , PC . I believe that an amicable resolution can be achieved without the need for additional
     litigation , which would be beneficial to both parties in terms of time , cost, and preserving business relations.

     If you wish to open negotiations, please respond to this emai l to declare participating and representing parties. 1 will provide an updated negotiation agreement that
     aligns. 1 am confident that through constructive dialogue, we can arrive al a solution that meets the needs of all involved.

     Please inc lude the following when you respond .

     _ _ _ _ _ _ _ _ __ _ _ _ _ _ (parties) are open to discussions on the following key points :

         1. [Briefly outline the m ain points you wish to negotiate]
         2 . [Propose potential terms or frameworks for negotiation , if you want to propose terms for the negotiation agreement]

     A belief that negotiating in good fai th at thi s stage w ill all ow us to avoid further unnecessary escalation of the situation and find a solution is to Ohana Growth Partners.
     LLC and Miles & Scockbridge, PC benefit.

     Please feel free to contact me via email at zy..an@mxt3 com if you have any preliminary questions to ask in good faith .

     I hope we can work towards a re so lution.

     The previous terms for the negotiation agreement are no longer available, previous terms are no longer available, and the closed session is no longer availahlc

     with kindness and generosity,

     Ryan Dillon-Capps

     1334 Maple Ave

     Essex MD 21221
     703-303-1 113




                                                                                        11 / 91
M&S All Emails Extracted                                                             Page# 77 of91                                                                    Exhibit 164
                       Case 1:24-cv-03744-BAH                                               Document 16-14                                 Filed 01/03/25                            Page 76 of 89


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                                                                                                                78 / 91
M&S All Emails Extracted                                                                                  Page# 78 of91                                                                                                Exhibit 164
                    Case 1:24-cv-03744-BAH                              Document 16-14                       Filed 01/03/25                  Page 77 of 89

   Subject: RE: [EXTERNAL] Opportunity to Negotiate Settlement - October 18, 2024
   From : "Brennen , Robert S." <RBRENNEN@MilesStockbridge.com>
   To: "ryan@mxt3.com" <ryan@mxt3.com>
   Date Sent: Monday, October 21 , 202412:14:39 PM GMT-04:00
   Date Received : Monday, October 21 , 2024 12:14:53 PM GMT-04:00

   Chana is amenable to retaining Judge Williams as a mediator. I will reach out to him via email to ascertain his availability to conduct a mediation conference within the
   next several days.




   From: Ryan Wagner <ryan @mxt3.com>
   Sent: Monday, October 21, 2024 10:32 AM
   To: Brennen, Robert S.<RBRENNEN @MilesStockbridge.com>
   Subject: Re: [EXTERNAL) Opportunity to Negotiate Settlement - October 18, 2024


   [EXTERNAL)

   Understandable,

   To help expedite thi s matter. w e suggest using Judge Alexander William s, Jr. (Ret.) as a medi ator. His track record wi th resolv ing cases effi ciently and hi s no-nonsense
   approach would likel y ensure we reach a solution quickly, minimi zing ongoing legal ex penses and avoiding prolonged court involvement. Hi s reputation for
   straightforward and practical resolution s aligns with our shared goal of findin g a mutuall y agreeable outcome without unnecessary del ays or escalating costs

   A dditi onally, utilizing a private mediation group like the M cCammon Group all ows us both to maintain more control over the process, ensuri ng flex ibi l ity and
   convenience for scheduling, while keeping the costs and timeline manageable for both sides.The M cCammon group boasts that 85% of the mediations they handle result
   in a settlement. and they have an agree abl e neutral form at.

   There will be a large filing later today. I wanted to let you know in advance to avoid any misunderstanding because this was already planned and it is not
   an indication of a change in my position. I recommend engaging them quickly if it is agreeable.

   Judge Alexander Williams , Jr. (Rel.) (U .S. District Court for Maryland)

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      • Phone : 888-343-0922
      • https ·//www mccammo□ grPUP com/services/civil-dispute-mediation/basics-mediation/
      • https'//www mccammo □ grPup com/neutrals/boo-alexander-williams-jr:ret/

   On Mon, Oct 21 , 2024 at 9:25AM Brennen, Robert S. <RBRENNEN@milesstockbridg~> wrote :

     Because Judge Rolle is a full-time judicial appointee , she is barred by Maryland Rule 1B-203 .9(a) from serving as a mediator. The Circuit Court for Baltimore County
     could appoint a retired judge from that Circuit to serve as the mediator. Do you have a preference with regard to a particular retired j udge of the Baltimore County
     Circuit Court?




     From : Ryan Wagner <rvan@mxt3 com>
     Sent: Friday, October 18, 2024 2:44 PM
     To: Brennen , Roberts. <RBRENNEN@Milesstockbrjd2emm>
     Cc: Frenkil , Steven D. <sfrenki1@Mi1esStockbrid2emrri>
     Subject: Re: [EXTERNAL) Opportunity to Negotiate Settlement - October 18, 2024


     [EXTERNAL)

     I am open to this opportunity, but I want Judge Stenise L Rolle to be asked and for all parties to accommodate her schedule. Is this acceptable?

     On Fri , Oct 18, 2024 at 1:45 PM Brennen, Robert S. < RBRENNEN@milesstockbrjdge..com> wrote:
       Consistent with its position throughout the ongoing litigation, Chana Growth Partners remains open to good fa ith negotiations regard ing a possible resolution of the
       litigation. However, in light of the parties' respective and very divergent views on the material facts and applicable law, Chana does not think that direct party to party
       discussions are likely to be constructive. Chana proposes that the parties agree to participate in settlement discussions with the assistance and participation of a
       mediator appointed by the Court, preferably a retired Circuit Court judge. Please advise whether you would object to or consent to the Court's referring the matter to
       a court-appointed mediator for mediation. If you consent, or at least do not object, we will prepare and file a request to the Court that it make such a referral and
       indicate in the request that you either consent, or do not object.

       We look forward to hearing from you .



                   Robert Brennen Principal
                   M iles & Stockbridge
                   direct: +1 {4 10) 385·3653




                                                                                        79 / 91
M&S All Emails Extracted                                                            Page# 79 of91                                                                     Exhibit 164
                      Case 1:24-cv-03744-BAH                                                 Document 16-14                                  Filed 01/03/25                            Page 78 of 89
      From: Ryan Wagner <rvan@mxt3.com >
      Sent: Friday, October 18, 2024 11:30 AM
      To: Brennen, Robert S.< RBRENNEN@MHesStockbridee.com >; Frenkil, Steven D.< sfrenkil@MHesStockbridge.com>; Hoffberger, Victoria (Tory)
      <~ger@milesstockbrjde~>; Edward s. Kimale J. <J!jedwards@Milesstockbrjde=>; Butler. Holly Drumhell er <hbyUer@MHesStockbrjdg=>; Duvall . Jessica L.
      <jduvall@MilesStockbridge.com >
      Subject: [EXTERNAL] Opportunity to Negotiate Settlement - October 18, 2024



      [EXTERNAL)

      I am writing to formally propose an opportunity to engage in negotiations to resolve the ongoing litig ation and open to discussing future litigation with
      Ohana Growth Partners. LLC and Miles & Stockbridge , PC. I believe that an amicable resolution can be achieved without the need for additional
      litigation, which would be beneficial to both parties in terms of time. cost , and preserving business relations .

      I f you w ish to open negotiations, please respond lo thi s email lo declare participating and representing parties. I will provide an updated negotiallon agreement that
      aligns. I am confident that through constructive dialogue, we can arrive al a solution that meets the needs of all involved.

      Please include the foll owing w hen y ou respond .

      _ _ _ _ _ _ _ _ _ _ ______ (part ies) are open to discuss ions on the following key points

          1. [Briefly outline the main points you wish to negotiate]
          2. [Propose potential terms or frameworks for negotiation. if you want to propose terms for the negotiation agreement]

      A belief that negotiating in good faith al this stage will all ow us to avoid further unnecessaiy escalation of lhe si tuation and find a solution is lo Ohana Growth
      Partners, LLC and Miles & Stockbridge, PC benefit.

      Please fee l free to contact me via email at fY..il!l.@mxt3 com if y ou have any prel im inary questions to ask in good faith .

      I hope we can work towards a resolution .

      The previous terms for the negotiati on agreement are no longer available , previous terms arc no longer available. and the closed sess ion is no longer avai lable.

      with kindness and generosity,

      Ryan Dillon-Capps

      1334 M aple Ave

      Essex MD 2 I 22 1
      703-303-111 3



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      the IRS. Pl@ase contact the author if you wou ld like to receive written advice in a format which complies with IRS rul es and may be relied upon to avoid pena lties .



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M&S All Emails Extracted                                                                                  Page# 80 of91                                                                                                  Exhibit 164
                           Case 1:24-cv-03744-BAH                                               Document 16-14                                   Filed 01/03/25                             Page 79 of 89

  Subject: Retention as Mediator
  From : "Brennen, Robert S." <RBRENNEN@MilesStockbridge.com>
  To: "judgeaw@gmail.com" <judgeaw@gmail.com>
  Cc : Ryan Wagner <ryan@mxt3.com>, "Frenkil , Steven D." <sfrenkil@MilesStockbridge.com>
  Date Sent: Monday, October 21 , 2024 12:25:48 PM GMT-04 :00
  Date Received : Monday, October 21 , 202412 :26:04 PM GMT-04:00

  Dear Judge Wil l iams,

  Good afternoon . We represent Ohana Growth Partners, LLC in a matter pending before the Circuit Court for Baltimore County sty led as Ghana Growth Parmers. LLC v.
  Ryan Dillon-Capps, Case No. C-03-CV-24-002264 . Ryan Dillon-Capps (nee Wagner) is proceeding prose. The parties would like to retain Your Honor to ass ist them in
  mediating a resolution of the matter, and would like to schedule a mediation conference with you at your earliest convenience . Please advi se how we should proceed with
  your retention .

  Respectfully,

  Robert Brennen
  Pt1nc1pol

  100 Light Street   Baltimore, MD 21202
  D: +1410.385 .3653    0: +1 41 0.717.6464   F: +14 10.698.1352


  . .. MILES
  ~f~ STOCKBRIDGE
  i!2 I VC;1rd I rbrennen@milesstockbridq.com

  m:ICD


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                                                                                                                 81 / 91
M&S All Emails Extracted                                                                                      Page# 81 of91                                                                                                   Exhibit 164
                           Case 1:24-cv-03744-BAH                         Document 16-14                       Filed 01/03/25                   Page 80 of 89

  Subject: FW: Retention as Mediator
  From : "Brennen , Robert S." <RBRENNEN@MilesStockbridge.com>
  To: Ryan Wagner <ryan@mxt3.com>
  Cc: "Frenkil , Steven D." <sfrenkil@MilesStockbridge.com>
  Date Sent: Tuesday, October 22, 2024 9:40:40 AM GMT-04:00
  Date Received : Tuesday, October 22 , 2024 9:40:55 AM GMT-04 :00

   We have heard that retired Baltimore County Circuit Court Judge Kathleen Cox will take on mediation retentions involving pro se litigants.
   tittps·Umsa mary.Ja.n.d...gov/msa/mdmanual/31cc/former/html/msao2818 html
   Let us know if you would agree to use Judge Cox .




   From: Perri Boyd <pboyd@mccammongroup.com>
   Sent: Monday, October 21 , 2024 1:15 PM
   To: Brennen , Robert S.<RBRENNEN@MilesStockbridge.com>
   Cc: Ryan Wagner <ryan@mxt3.com>; Frenkil , Steven D.<sfrenkil@MilesStockbridge.com >
   Subject: [EXTERNAL] RE: Retention as Mediator



   [EXTERNAL)

   Counsel,

   It is McCammon's policy that all parties in mediation must have attorneys, and we coordinate the scheduling process through the attorneys. If Mr. Wagner decides to ret ain counsel for
   this matter, please reach out to us, and we would be happy to move forward with scheduling mediation.

   Thanks !

   Regards,

   Perri Boyd
   Senior Case Manager




  •The McCammon Group, Ltd.
   Direct : 804.433. 2259 I Toll Free: 888.343.0922
   www.McCammonGrouR.com


   From: Alexander Williams <jy_ggeaw@gmaiLcom>
   Sent: Monday, October 21, 2024 12:29 PM
   To: Brennen, Robert S. < RBRENNEN@Mj1esStockbrid2e~>; Perri Boyd < Rl19yd@mccammong[OJJQ..CO!Il>; Willi ams, Al exander, Jr. <j l ! i ! g ~ g ~>
   Cc: Ryan Wagner <rvan@mxt3.com>; Frenkil , Steven D. <sfrenkil@MilesStockbridg!Ll&(Q>
   Subject: Re: Retention as Mediator

   Will be happy to assist. I'll have copied Perri Boyd from the McCammon Group will work out the logistics.

   Alex wi lliams

   From: Brennen. Robert S. <RBRENNEN@MHesStockbrid~~orri>
   Sent: Monday, October 21, 2024 12:25 PM
   To: j!J,dge.ilYi.@g~ <j ! J . l ! g ~ g ~>
   Cc: Ryan Wagner <rvan@mxt3.com >; Frenkil , Steven D.< sfrenki1@Mi1esStockbrid2e.com>
   Subject: Retention as Mediator

   Dear Judge Williams,

   Good afternoon . We represent Ohana Growth Partners, LLC in a matter pending before the Circuit Court for Baltimore County styled as Oha11a Growth Parmers. LLC ,,.
   Ryan Dillon-Capps, Case No. C-03-CY-24-002264 . Ryan Dillon-Capps (nee Wagner) is proceeding prose. The parties would like to retain Your Honor to ass ist them in
   mediating a resolution of the matter, and would like to schedule a mediation conference with you al your earliest convenience . Please advise how we should proceed w ith
   y our retention .

   Respectfully,

   Robert Brennen
   Pr1nc1pof

   100 Light Street   Baltimore, MD 21202
   D: +1410.385.3653     0 : +1 410.727 .6464   F: + 1 41 0.698.1 352


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   J2!g i ~ , rbf::coosm@milnstockhrid1U2m




                                                                                        82 / 91
M&S All Emails Extracted                                                             Page# 82 of9l                                                                        Exhibit 164
                         Case 1:24-cv-03744-BAH                                               Document 16-14                                  Filed 01/03/25                           Page 81 of 89


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                                                                                                                  83 / 91
M&S All Emails Extracted                                                                                    Page# 83 of91                                                                                                Exhibit 164
                    Case 1:24-cv-03744-BAH                                 Document 16-14                        Filed 01/03/25                   Page 82 of 89

  Subject: RE : [EXTERNAL) Re: FW Retention as Mediator
  From : "Brennen , Robert S." <RBRENNEN@MilesStockbridge.com>
  To: "ryan @mxt3.com" <ryan@mxt3.com>
  Cc: "Frenkil, Steven D." <sfrenkil@MilesStockbri dge.com>
  Date Sent: Tuesday, October 22, 2024 3:17:30 PM GMT-04:00
  Date Received : Tuesday, October 22 , 2024 3:17:46 PM GMT-04:00

  A s stated in my email of October 18, 2024 , Ohan a Growth Partners remains open to good faith neg otiations regarding a possible re solution of the litigation . However, in
  light of the parties' respective and very divergent views on the material facts and appl icable law, Ohana does not think that di rect party to party discussions are likely to
  be constructive. Ohana continues to be open to participating in settlement discussio ns with the assi stan ce and partici pation of a mediator.




  From : Ryan Wagner <ryan@mxt3.com>
  Sent: Tuesday, October 22, 2024 12:24 PM
  To: Brennen, Robert S.< RBRENNEN@Mi lesStockbridge.com>
  Cc: Frenkil, Steven D. <sfrenkil @MilesStockbridge.com>
  Subject: [EXTERN AL] Re: FW: Retenti on as M ediator


  [EXTERNAL)

   Maybe ,

   I held the filing back yesterday as a courtesy. I want to give both of you the opportunity to be heard - I am n ot going into the city to your offi ce or anywhere
   that is favorable ground to either of you .

   Let's see if we can save everyone time -- 5625 O'Don nell St, Baltimore, MD 21224 parking lot. Twenty-minute meeting today. It can be during or after hours, and it is
   between both of us at a large establishment.
   You , Robert, and Steven present the position for Ohana and M&S and let's see if there are sufficient ground s to d iscuss fu rther.

   hopeful ,
   RDC



   On Tue , Oct 22 , 2024 at 9:40AM Brennen , Robert S . < RBRENNEN@mj!esstockbrjdg~> wrote

     W e have heard that retired Baltimore County Circuit Court Judge Kathleen Cox w ill ta ke on med iation retentions involving prose litigants.
     !Jttps://msa mary.Jaruj.gov/msa/mdmanua[/31cc/former/htm[/msa02818 html
     Let us know if you would agree to use Judge Cox.




     From: Perri Boyd <Jlbovd@mccammong!:Q!.!Jl.com>
     Sent: Monday, October 21, 2024 1: 15 PM
     To: Brennen, Robert S.< RBRENNEN@Mi[esStockbridRe.com>
     Cc: Rya n Wagner <ryan@mxt3 com>; Frenkil, Steven D. <sfrenkil@Mi(esStockbridR!:.Cl2.IJl>
     Subject: [EXTERNAL] RE: Retenti on as Mediator



     (EXTERNAL)

     Counsel,

     It is McCammon's policy t hat all parties in med iation must have attorn eys, and we coordinate the scheduli ng process through the attorneys. If Mr. Wagner decides to retain counsel
     for this matter, please reach out to us, and we wou ld be happy to move forward with scheduling mediation.

     Thanks'

     Regards,

     Perri Boyd
     Senior Case Manager




     •
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     Direct: 804.433.2259 I Toll Free: 888.343.0922
     www.McCammonGrouP..com


     From: Alexander Williams <jY.dgefil't'.@g~>
     Sent: Monday, October 21 , 2024 12:29 PM
     To: Brennen , Roberts. <RBRENNEN@Mi(es5tockbridg!:.Cl2.1Jl>; Perri Boyd <J2bovd @mccammongCQlllli9fil>; Williams, Alexander, Jr. <j112g~         gtnaMQlll>
     Cc: Ryan Wagner <rv.an@mxt3.com>; Frenkil , Steven D. <sfrenki[ @Mi[esStockbridg!:..CQ!!!>
     Subject: Re: Retention as Mediator


                                                                                           84 / 91
M&S All Emails Extracted                                                             Page# 84 of91                                                                          Exhibit 164
                        Case 1:24-cv-03744-BAH                                                  Document 16-14                                    Filed 01/03/25                             Page 83 of 89

    Will be happy to assist. I'll have copied Perri Boyd from the McCammon Group will work out the logisti cs.

    Alex williams

    From: Brennen, Robert 5. <RBRENNEN@MilesStockbrid2e&QID>
    Sent: Monday, October 21 , 2024 12: 25 PM
    To: jill!g~ga:!.2.il.= < jill!g~ga:!.2.il.=>
    Cc: Ryan Wagner <rv.an@mxt3.com >; Frenkil, Steven D. <sfrenkil@MilesStockbridg~>
    Subject: Retention as Mediator



    Dear Judge Wi ll iams,



    Good afternoon. We represent Ohana Growth Partners, LLC in a matter pending before the C ircu it Coun for Baltim ore County sty led as Ghana Growth Partners. LLC
    v. Ryan Dillon-Capps, Case No . C-03-CV-24-002264. Ryan Dil lon-Capps (nee Wagner) is proceeding pro se. The parties woul d like to retain Your Honor to assist them
    in medi ating a resolution of the matter, and would li ke to schedule a mediation conference with you at your earliest conve ni ence . Please advise how we shoul d proceed
    w ith your retention .



    Respectful ly,



    Robert Brennen
    Principal
    100 Light Street Baltimore, MD 21 202
    D: +1410.385.3653 I 0 : +14 10.727.6464   F: +1410.698.1352


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                                                                                                                 85 / 91
M&S All Emails Extracted                                                                                      Page# 85 of91                                                                                                     Exhibit 164
                    Case 1:24-cv-03744-BAH                               Document 16-14                       Filed 01/03/25                   Page 84 of 89

  Subject: Notification of Service for Case: C-03-CV-24-002264, Ohana Growth Partners, LLC vs. Ryan Dillon-Capps for filing Dismissal - Voluntary, Envelope Number: 18536331
  From : "Edwards , Kimale J." <kjedwards@MilesStockbridge.com>
  To: Ryan Wagner <ryan@mxt3.com>
  Date Sent: Thursday, October 24, 2024 10:52:45 AM GMT-04 :00
  Date Received: Thursday, October 24, 2024 10:53:08 AM GMT-04 :00
  Attachments : 2024-10-24 Notice of Voluntary Dismissal.pd!

   Good Morning - Please find attached Plaintiff's Notice of Voluntary Dismissal that was filed today.

  Thank you - Kim
  Assistant to Robe1t S. Brennen




   From: no-reply@efilingmail.tylertech.cloud <no-reply@efilingmail .tylertech .cloud >
   Sent: Thursday, October 24, 2024 8:55 AM
   To: Edwards, Kimale J.< kjedwards@MilesStockbridge.com>
   Subject: [EXTERNAL] Notification of Service for Case: C-03-CV-24-002264, Ohana Growth Partners, LLC vs. Ryan Dillon-Capps for filing Dismissal - Voluntary, Envelope Number: 18536331



   [EXTERNAL)




                                                                                                                                 Notification of Service
                                                                                                                                       Case Number: C-03-CV-24-002264
                                                                                                             Case Style: Ohana Growth Partners , LLC vs. Ryan Dillon-Capps
                                                                                                                                             Envelope Number: 18536331



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                                                                                      Filing Details
   Case Number                                            C-03-CV-24-002264
   Case Style                                             Ohana Growth Partners, LLC vs. Ryan Dillon-Capps
    Date!Time Submitted                                   10/24/2024 8:53 AM EST
    Filing Type                                           Dismissal - Voluntary
    Filing Description                                    Plaintiff's Notice of Voluntary Dismissal
    Filed By                                              Robert Brennen
                                                          Ohana Growth Partners , LLC:

                                                          Robert Brennen (rbrennen@milesstockbridg~

                                                          Steven Frenkil (sfrenkil@milesstockbridge...com)

                                                          Jessica Duvall Ud.l.!ru@MilesStockbridge...com)

                                                          Victoria Klein (~@milesstockbridge...com)

                                                          Kim Edwards (!sj~@milesstockbridge...com)
    Service Contacts


                                                          Ryan Dillon-Capps :

                                                          Ryan Dillon-Capps (ry..an@mxt3 com)



                                                          Ryan Wagner:

                                                          Ryan Dillon-Capps (ry..an@mxt3 com)




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                                                                                      86 / 91
M&S All Emails Extracted                                                           Page# 86 of91                                                                        Exhibit 164
                          Case 1:24-cv-03744-BAH                                                 Document 16-14                                   Filed 01/03/25                             Page 85 of 89


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                                                                                                                 87 / 91
M&S All Emails Extracted                                                                                      Page# 87 of91                                                                                                   Exhibit 164
                    Case 1:24-cv-03744-BAH                                 Document 16-14                       Filed 01/03/25                   Page 86 of 89

   Subject: Notification of Service for Case: C-0J-CV-24-002264, Ohana Growth Partners , LLC vs. Ryan Dillon-Capps for filing Opposition , Envelope Number: 18566391
   From : "Edwards, Kimale J." <kjedwards@MilesStockbridge.com >
   To: Ryan Wagner <ryan@mxt3.com>
   Date Sent: Friday, October 25, 2024 3:45:30 PM GMT-04:00
   Date Received : Friday, October 25, 2024 3:45 :43 PM GMT-04:00
   Attachments : 2024-10-25 Opposition to Motion to Strike Notice of Voluntary Dismissal.pdf,2024-10-25 Proposed Order Denying Motion to Strike Notice of Voluntary Dismissal.pd!

   Good Afternoon - Please find attached Plaintiff's Opposition to Defendant's Motion to Strike Notice of Voluntary Di smissal and Proposed Order
   that was filed today.

   Thank you- Kim
   Assistant to Robert S. Brennen




   From: no-reply@etilingmail.tylertech .cloud <no-reply@etilingmail .tylertech.cloud>
   Sent: Friday, October 25, 2024 3:36 PM
   To: Edwards, Ki male J. <kjedwards@MilesStockbridge.com >
   Subject: [EXTERNAL) Notitication of Service for Case: C-03-CV-24-002264, Ohana Growth Partners, LLC vs. Ryan Dillon-Capps for tilin g Opposition, Envelope Number: 18566391



   [EXTERNAL)




                                                                                                                                   Notification of Service
                                                                                                                                          Case Number: C-03-CV-24-002264
                                                                                                               Case Style : Ohana Growth Partners , LLC vs. Ryan Dillon-Capps
                                                                                                                                                Envelope Number: 18566391



   This is a notification of service for the filing listed. Please click the link below to retrieve the submitted document.

                                                                                       Filing Details
   Case Number                                             C-03-CV-24-002264
   Case Style                                              Ohana Growth Partners, LLC vs. Ryan Dillon-Capps
   Date/Time Submitted                                     10/25/2024 3:34 PM EST
   Filing Type                                             Opposition
   Filing Description                                      Plaintiffs Opposition to Defendant's Motion to Strike Notice of Voluntary Dismissal
   Filed By                                                Robert Brennen
                                                           Ryan Wagner:

                                                           Ryan Dillon-Capps (ry..an@mxt3 com)



                                                           Ohana Growth Partners , LLC :

                                                           Robert Brennen (rbrennen@milesstockbrjdg~

                                                           Steven Frenkil (.sfumkil.@milesstockbrjdg~
   Service Contacts
                                                           Jessica Duvall (jd.l.r,raJl@MilesStockbridge...cQ!!l)

                                                           Victoria Klein (vklein@milesstockbridge...cQ!!l)

                                                           Kim Edwards (!sj~@mi!esstockbridge...cQ!!l)



                                                           Ryan Dillon-Capps:

                                                           Ryan Dillon-Capps (IYJm.@mxt3 com)




                                                                                        88 / 91
M&S All Emails Extracted                                                             Page# 88 of91                                                                         Exhibit 164
                          Case 1:24-cv-03744-BAH                                                  Document 16-14                                   Filed 01/03/25                             Page 87 of 89


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  Subject: Notification of Service for Case: C-03-CV-24-002264, Ohana Growth Partners, LLC vs . Ryan Dillon-Capps for filing Opposition , Envelope Number: 18646386
  From : "Edwards, Kimale J." <kjedwards@MilesStockbridge.com>
  To: Ryan Wagner <ryan@mxt3.com>
  Date Sent: Thursday, October 31 , 2024 5:21 :35 PM GMT-04:00
  Date Received : Thursday, October 31 , 2024 5:21 :47 PM GMT-04 :00
  Attachments : 2024-10-31 Opposition to 10-25-24 Motion for Sanctions.pdf,2024-10-31 - Proposed Order Denying 10-25-24 Motion for Sanctions.pd!

  Good Afternoon - Please find attached Plaintiff's Opposition to the 10-25- 24 Motion for Sanction s that was filed today.

  Thank you - Kim
  Assistant to Robert S. Brennen




  From: no-reply@efilingmail .tylertech.cloud <no-reply@efil ingma il .tylertech.cloud >
  Sent: Thursday, October 31, 2024 5:17 PM
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    Case Style                                                               Ohana Growth Partners , LLC vs. Ryan Dillon-Capps
    Date/Time Submitted                                                       10/31/2024 5:16 PM EST
    Filing Type                                                              Opposition
    Filing Description                                                       Opposition to 10-25-24 Motion for Sanctions
    Filed By                                                                  Robert Brennen
                                                                              Ryan Wagner:

                                                                              Ryan Dillon-Capps (ry.an.@mxt3 com}



                                                                              Ohana Growth Partners, LLC :

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                                                                              Ryan Dillon-Capps :

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